        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 1 of 62




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ELIZABETH CHAN, TAMARA HOFFMAN,
RACHEL EHRENPREIS, CHAIM KATZ, WINNIE
CHEUNG, MEIR EHRENPREIS, JOHN BAILEY,
SEAN CARNEY, LUIS DIAZ AND FAMILIES FOR
A BETTER PLAN FOR CONGESTION,
                                                         Case No. 23-cv-10365-LJL
                            Plaintiffs,                  [rel. 1:24-cv-01644-LJL]
                                                         [rel. 1:23-cv-10365-LJL]

                   v.

UNITED STATES DEPARTMENT OF                              Oral argument requested
TRANSPORTATION, FEDERAL HIGHWAY
ADMINISTRATION, THE METROPOLITAN
TRANSPORATION AUTHORITY, THE
TRIBOROUGH BRIDGE AND TUNNEL
AUTHORITY, SHAILEN BHATT, in his official
capacity as Administrator of the Federal Highway
Administration, RICHARD J. MARQUIS, in his
official capacity as Division Administrator of the New
York Division of the Federal Highway Administration,
NICHOLAS A. CHOUBAH, P.E. in his official
capacity as Chief Engineer for the New York State
Department of Transportation, WILLIAM J. CARRY
in his official capacity as Assistant Commissioner for
Policy for the New York City Department of
Transportation,

                         Defendants.




      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                      SUMMARY JUDGMENT
            Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 2 of 62




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1
FACTUAL BACKGROUND ....................................................................................................... 10
          A.         New York Attempts To Implement Congestion Pricing—The First Of Its Kind In
                     U.S. History .......................................................................................................... 10
          B.         NEPA’s Role In Ensuring Federal Agencies Give Proper Weight To
                     Environmental Consequences Of Proposed Actions ............................................ 13
          C.         The “Fast Track” Approval Of Congestion Pricing .............................................. 14
          D.         The Draft EA – A Process Driven By Revenue And Rush................................... 15
          E.         The Preordained Result—The FHWA Issues The EA And FONSI Without
                     Requiring The Project Sponsors To Prepare An EIS. ........................................... 18
          F.         The TMRB Issues Its Recommended Toll Price And Structure ........................... 21
ARGUMENT ................................................................................................................................ 23
I.        DEFENDANTS’ DECISION TO ISSUE A FONSI WAS ARBITRARY AND
          CAPRICIOUS ................................................................................................................... 24
II.       THE EA AND FONSI FAILED TO TAKE A HARD LOOK AT CONGESTION
          PRICING........................................................................................................................... 26
          A.         Defendants’ Issuance Of A FONSI Was Arbitrary And Capricious Because It
                     Failed To Take A Hard Look At The Impacts Of Congestion Pricing On Battery
                     Park City ............................................................................................................... 27
          B.         The EA And FONSI Failed To Consider Adverse Impacts On Communities With
                     Environmental Justice Concerns ........................................................................... 31
                     1.         FHWA’s Flawed Methodological Choices For Analyzing Environmental
                                Justice Communities Were Arbitrary And Capricious ............................. 34
                     2.         The EA And FONSI Ignore The Adverse Impact Of Congestion Pricing
                                On Battery Park City And Environment Justice Communities ................ 37
          C.         The EA And FONSI Failed To Sufficiently Identify And Analyze Reasonable
                     Alternatives To Congestion Pricing ...................................................................... 41
          D.         The Final EA And FONSI’s Proposed Mitigation Measures Are Wholly
                     Inadequate And Were Not Sufficiently Analyzed ................................................ 45
          E.         The EA And FONSI Must Be Vacated Because They Did Not Analyze The
                     Actual Congestion Pricing Tolling Structure ........................................................ 48
          F.         Defendants’ Failure To Provide Adequate Participation Renders The EA And
                     FONSI Arbitrary And Capricious ......................................................................... 50
III.      The FONSI Should Be Set Aside Pending A Supplemental Environmental Review....... 53
CONCLUSION ............................................................................................................................. 55




                                                                       i
            Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 3 of 62




                                                  TABLE OF AUTHORITIES

Cases ..................................................................................................................................... Page(s)

Anderson v. Evans,
   371 F.3d 475 (9th Cir. 2004) .......................................................................................24, 25, 51

Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc.,
   462 U.S. 87 (1983) ...................................................................................................................26

California v. Bernhardt,
   472 F.Supp.3d 573 (N.D. Cal. 2020) .......................................................................................38

California. v. Block,
   690 F.2d 753 (9th Cir.1982) ........................................................................................49, 52, 55

Ctr. for Bio. Diversity v. Nat’l Highway Traffic Safety Admin,
    538 F.3d 1172 (9th Cir. 2008) .................................................................................................26

Dep’t of Transp. v. Pub. Citizen,
   541 U.S. 752 (2004) .................................................................................................................23

Dubois v. U.S. Dep’t of Agric.,
   102 F.3d 1273 (1st Cir. 1996) ............................................................................................52, 55

el Bienestar de la Comunidad Costera v. FERC,
    6 F.4th 1321 (D.C. Cir. 2021) ............................................................................................32, 35

Habitat Educ. Ctr., Inc. v. U.S. Forest Serv.,
   603 F. Supp. 2d 1176 (E.D. Wis. 2009)...................................................................................41

Hanly v. Kleindienst,
   471 F.2d 823 (2d Cir. 1972).....................................................................................................51

Highway J Citizens Grp. v. Mineta,
   349 F.3d 938 (7th Cir. 2003) ...................................................................................................53

Idaho Sporting Cong. Inc. v. Rittenhouse,
   305 F.3d 957 (9th Cir. 2002) ...................................................................................................27

Klamath-Siskiyou Wildlands Ctr. v. U.S. Forest Serv.,
   373 F. Supp. 2d 1069 (E.D. Cal. 2004)....................................................................................41

League Wildness Defs./Blue Mtns. Biodiversity Proj. v. Forsgren,
   309 F.3d 1181 (9th Cir. 2002) .................................................................................................47

Magellan Tech., Inc. v. USDA,
  70 F.4th 622 (2d Cir. 2023) ...............................................................................................48, 49


                                                                        ii
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 4 of 62




Marsh v. Or. Nat. Res. Council,
  490 U.S. 360 (1989) .................................................................................................................26

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) .................................................................................................27, 29, 32, 49

Muckleshoot Indian Tribe v. U.S. Forest Serv.,
  177 F.3d 800 (9th Cir. 1999) ...................................................................................................44

N. Cascasdes Conservation Council v. U.S. Forest Serv.,
    98 F. Supp. 2d 1193 (W.D. Wash. 1999) .................................................................................27

Nat’l Audubon Soc. v. Hoffman,
   132 F.3d 7 (2d Cir. 1997) ..................................................................................................13, 21

Nat’l Audubon Soc’y v. Dep’t of Navy,
   422 F.3d 174 (4th Cir. 2005) ...................................................................................................31

Nat’l Parks & Conservation Ass’n v. Babbitt,
   241 F.3d 722 (9th Cir. 2001) ...................................................................................................24

Native Ecosys. Council v. Judice,
   No. CV 18-55-BLG-SPW, 2019 WL 1131231 (D. Mont. Mar. 12, 2019) ..............................50

Neighbors of Cuddy Mtn. v. U.S. Forest Serv.,
   137 F.3d 1372 (9th Cir. 1998) .................................................................................................47

New York v. Nuclear Regul. Comm’n,
   681 F.3d 471 (D.C. Cir. 2012) ...........................................................................................25, 26

Nio v. United States Dep’t of Homeland Sec.,
   385 F. Supp. 3d 44 (D.D.C. 2019) ...........................................................................................21

O’Reilly v. All State Financial Co.,
   No. 22-30608, 2023 WL 6635070 (5th Cir. Oct. 12, 2023) ....................................................32

O’Reilly v. U.S. Army Corps of Eng’rs,
   477 F.3d 225 (5th Cir. 2007) ...................................................................................................45

Price Rd. Neighborhood Ass’n v. U.S. Dep’t of Transp.,
   113 F.3d 1505 (9th Cir.1997) ..................................................................................................54

Protect Key West, Inc. v. Cheney,
   795 F. Supp. 1552 (S.D. Fla. 1992) .........................................................................................50

N.M. ex rel. Richardson v. Bureau of Land Mgm’t,
   565 F.3d 683 (10th Cir. 2009) ...........................................................................................47, 54



                                                                   iii
            Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 5 of 62




Robertson v. Methow Valley Citizens Council,
   490 U.S. 332 (1989) .................................................................................................................13

San Luis Valley Ecosys. Council v. U.S. Fish & Wildlife Serv.,
   657 F. Supp. 2d 1233 (D. Colo. 2009) .....................................................................................46

Seattle Audubon Soc. v. Moseley,
   80 F.3d 1401 (9th Cir. 1996) ...................................................................................................43

Sierra Club v. Mainella,
    459 F. Supp. 2d 76 (D.D.C. 2006) .....................................................................................28, 30

Simmons v. U.S. Army Corps of Eng’rs,
   120 F.3d 664 (7th Cir. 1997) .............................................................................................41, 42

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
   255 F. Supp. 3d 101 (D.D.C. 2017) ...................................................................................32, 37

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
   985 F.3d 1032 (D.C. Cir. 2021) ...............................................................................................27

Suffolk Cnty. v. Sec’y of Interior,
    562 F.2d 1368 (2d Cir. 1977)...................................................................................................21

Town of Cave Creek v. FAA,
   325 F.3d 320 (D.C. Cir. 2003) ...........................................................................................25, 45

United Steel v. Mine Safety & Health Admin.,
   925 F.3d 1279 (D.C. Cir. 2019) ...............................................................................................26

W. N. Carolina All. v. N. Carolina Dep’t of Transp.,
   312 F. Supp. 2d 765 (E.D.N.C. 2003)......................................................................................50

Wetlands Action Network v. U.S. Army Corps. Of Eng’rs,
   222 F.3d 1105 (9th Cir. 2000) .................................................................................................45

Statutes

5 U.S.C. § 706 ................................................................................................................................23

42 U.S.C. § 4332(2)(C) .......................................................................................................... passim

N.Y. Tax L. § 606(jjj) (2014) ........................................................................................................12

N.Y. Veh. & Traf. L. §§ 1701–1706 ...................................................................................... passim

Other Authorities

23 C.F.R. §§ 771 et sec. ......................................................................................................... passim

                                                                       iv
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 6 of 62




40 C.F.R. § 1500–1508. ......................................................................................................... Passim

Exec. Order No. 14,008, 3 C.F.R. 489. ..........................................................................................31

Exec. Order No. 12,898, 3 C.F.R. 859. ..........................................................................................31




                                                                  v
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 7 of 62




                                PRELIMINARY STATEMENT

       While the concept of reducing traffic in certain areas of New York City may bring with it

some environmental and transportation benefits, those goals cannot be accomplished with a blind

eye toward the environmental burdens the plan will shift onto other communities. Yet, this is

precisely what the Defendants have done with the Central Business District Tolling Program

(“Congestion Pricing”). In refusing to engage in the Environmental Impact Statement (“EIS”)

process, Congestion Pricing is hurtling toward implementation with insufficient consideration of

the impacts it will have on many communities, including environmental justice neighborhoods.

Despite acknowledging significant environmental impacts will occur in those neighborhoods,

Defendants give little thought and even fewer details about mitigation measures to ameliorate those

results. This City has a sordid history, most notoriously in the era of Robert Moses, of laying the

burdens of transportation “progress” on the backs of communities that lack the power or influence

to fight back. Congestion Pricing echoes that history, and the Court should order a closer

examination of the environmental harms by requiring an EIS.

       Under the National Environmental Policy Act (“NEPA”), federal agencies must prepare an

EIS if a proposed action’s direct, indirect, and cumulative impact will “significantly affect[] the

quality of the human environment.” 42 U.S.C. § 4332(2)(C). An EIS is a more detailed, thorough,

and rigorous regulatory process than an Environmental Assessment (“EA”) and involves greater

public participation. When a federal agency prepares an EIS, the public is involved in an initial,

collaborative scoping process with federal agencies in which the issues to be analyzed and the

range of potential alternatives to be reviewed are decided. In an EIS, the comment period for

community feedback allows for a greater consideration of issues and requires waiting periods

before a final agency decision can be rendered to facilitate their consideration. On average, an EIS

takes four to five years for a federal agency to complete not because delay is desired, but because


                                                 1
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 8 of 62




when concrete impacts of a proposed federal action exist, a closer, more deliberative and

comprehensive analysis is demanded. In the past, changes to tolling procedures, widening

highways, and adjustments to exit ramps approved by the Federal Highway Administration

(“FHWA”)—the agency responsible for conducting the environmental review—have required an

EIS. Even when it is a “close call” whether there will be a significant impact from a proposed

action, under well-settled law an EIS must be prepared.

       The federal action at issue here, Congestion Pricing, is not a “close call.” The program is

not a single toll or the extension of a highway exit ramp. Congestion Pricing is a radical change

to the urban planning and infrastructure of the City and is the first ever such program in our nation’s

history. It will have profound environmental impacts on communities and it will forever alter the

daily experience of living and working in New York City and its surrounding environs for

Plaintiffs and for millions of New York and New Jersey residents who will be obliged to pay a

hefty $15 each time they enter the City at any point south of Manhattan’s 60th Street. By the

FHWA’s own admission, air pollution will rise in parts of New York City, in some cases for 20

years in vulnerable communities with pre-existing public health issues; traffic diverted to avoid

the $15 toll will make certain congested and dangerous roads for New York City residents and

their children even more dangerous and congested; small businesses, already struggling to recover

from the COVID-19 pandemic and the cost of operating in New York City on razor-thin margins,

will invariably suffer; and residents within the CBD, many of whom are working class and already

grappling with the huge increase in the cost of City living, will be burdened. Indeed, the United

States Environmental Protection Agency (“EPA”), the federal agency responsible for

implementation and enforcement of the vast majority of environmental statutes for the nation,

raised substantial concerns with the EA conducted here and in particular Congestion Pricing’s



                                                  2
            Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 9 of 62




impact on environmental justice communities. While the EPA may have briefly emailed and

“acknowledged the improvements” in the Final EA—in a curious process devoid of the required

public scrutiny—that missive cannot cure the lack of sufficient review conducted and the

inadequate mitigation measures committed. There is no doubt that Congestion Pricing will have

a significant and lasting impact on the quality of the human environment.

           To put the scale of Congestion Pricing in its proper context, on a single average weekday

in 2019, according to Defendants’ own statistics, 1,856,000 cars enter the Manhattan Central

Business District (“CBD”) and 7,665,000 total people enter and exit the CBD. AR 29 at 1-13. 1

Congestion Pricing affects all of these individuals, not to mention the millions residing or working

in areas that will be impacted by the noise and air pollution from inevitable traffic diversion.

Perhaps recognizing this, in early 2018 then-Governor Andrew Cuomo’s “Fix NYC Advisory

Panel” considered implementing congestion pricing and concluded that a comprehensive program

would require the “completion of an Environmental Impact Statement.” 2 Yet, Defendants,

straining credulity, just several years later somehow self-servingly characterized Congestion

Pricing not as having a “significant impact on the human environment,” but instead as “primarily

[] operational changes” with “very little physical effect on the existing environment.” AR 29 at

ES-4. Defendants therefore posited that an EA—a “rough cut, low budget EIS” on a much shorter

timeframe—was the appropriate analytical tool to review Congestion Pricing. Such a seismic shift

to City travel and its communities cannot be so readily and cavalierly minimized.




1
    “AR” cites are to the Administrative Record filed in this action on February 27, 2024 (ECF 41-1).
2
 See HNTB, Fix NYC Advisory Panel Report, at 5 (Jan. 19, 2018), https://www.hntb.com/fix-nyc-report/. (A copy
of the “Fix NYC Advisory Panel Report” is annexed to the Declaration of Alan M. Klinger (“Klinger Decl.”), dated
March 18, 2024, as Exhibit “2”.)

                                                           3
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 10 of 62




        The result of the EA was, predictably, consistent with Defendants’ reason for avoiding an

EIS: the expeditious review and implementation of the preordained Congestion Pricing construct.

Defendants did not want to wait the years an EIS would require to begin socking away revenue for

a budget-strapped Metropolitan Transportation Authority (“MTA”), an agency long criticized for

its financial mismanagement. 3 Following the script, the FHWA, in coordination with the MTA,

the New York State Department of Transportation (“NYSDOT”), and the New York City

Department of Transportation (“NYCDOT”) (collectively, the “Project Sponsors”), issued a

“Finding of No Significant Impact” (“FONSI”) for Congestion Pricing, contending after a short

10-month EA review that the program would not significantly impact the human environment,

absolving the FHWA of the responsibility to undertake a more comprehensive study. The decision

was reached after a process that the FHWA and MTA readily acknowledge was “fast-tracked” and

on an “extraordinarily expedited and aggressive environmental review timeframe.” 4 The hurried

and truncated decision-making is reflected in an EA that failed to take the requisite “hard look”

that federal law mandates.

        The reason the FHWA and the Project Sponsors sought to avoid a more intensive EIS study

is not difficult to discern. In summarily eschewing any analysis of the limited alternatives

identified in the EA other than a “no action” alternative, and failing to even consider options

publicly discussed for years (i.e., a phased-in program and dynamic pricing), Defendants made

plain that their overriding concern is raising revenue, not in minimizing congestion or protecting

the environment. An expensive, across-the-board toll results in faster and more cash for the MTA,



3
     E.g., James Barron, The M.T.A.’s Money Woes, N.Y.                          Times,     August    17,    2022,
https://www.nytimes.com/2022/08/17/nyregion/the-mtas-money-woes.html.
4
 Press Release, MTA, “Fed. Approval Granted to Kick of the Env’t Assessment & Publ. Outreach Process for Nation’s
First Cent. Bu. Dis. Tolling Program (Aug. 20, 2021), https://new.mta.info/press-release/federal-approval-granted-
kick-environmental-assessment-and-public-outreach-process.

                                                        4
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 11 of 62




an agency coveting an influx of revenue. As the then-Chief Development Officer (now Chair and

CEO), Janno Lieber stated, the “fast-tracked” environmental process would “get the MTA moving

forward towards being able to realize this source of funds.” 5 More recently, when Congestion

Pricing was delayed, Lieber admitted hoping to collect revenue earlier than the current June 2024

anticipated implementation date, stating flatly, “[w]e need that money.” 6 Under Congestion

Pricing, the MTA and TBTA stand to collect $1 billion in annual revenue and $15 billion towards

the MTA’s 2020-2024 Capital Plan. 7

           Defendants will undoubtedly assert, as they have publicly, that one of the objectives of the

MTA Reform and Traffic Mobility Act (the “Traffic Mobility Act”), the enabling statute creating

the Congestion Pricing program, is to generate sufficient annual net revenues to fund the MTA

capital program.        That may be so, but the challenged EA at issue in this litigation is an

environmental assessment, not a revenue assessment. Because of the desire to get to a revenue-

rich finish line, Defendants worked backwards to ensure approval, disregarding significant impacts

of Congestion Pricing that would have required a lengthier EIS process: (i) certain areas, such as

Battery Park City, were omitted from meaningful discussion and study; (ii) credible alternatives

in the EA were not analyzed; (iii) inadequate environmental testing was done, particularly in

communities with environmental justice concerns that already have some of the highest pollution

and chronic disease burdens; (iv) old and unreliable pre-COVID data that fails to account for



5
    “MTA Board Meeting Minutes,” Master page 15 of 89, Mar. 17, 2021, https://new.mta.info/document/33901.
6
 Erik Bascome, NYC Congestion Pricing Pushed Back to 2024, Costing $250M in Revenue, MTA Says, New York
City Council (Feb. 27, 2023), https://council.nyc.gov/joseph-borelli/2023/02/27/nyc-congestion-pricing-pushed-
back-to-2024-costing-250m-in-revenue-mta-says/.
7
  Recent estimates suggest that annual number to be collected by the MTA is likely closer to $3.4 billion in the first
year alone (making a phased-in option, granting additional exemptions and discounts, or a more limited initial program
even more feasible). Josh Gottheimer, The Impact of MTA’s Congestion Tax on NJ Families at 2, 3, 7 (2024),
https://d12t4t5x3vyizu.cloudfront.net/gottheimer.house.gov/uploads/2024/01/Congestion-Tax-Report-The-Impact-
of-MTAs-Congestion-Tax-on-NJ-Families-Gottheimer.pdf.

                                                          5
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 12 of 62




changes in working and commuting was used to analyze the program’s impact, despite the

availability of more recent data demonstrating such changes; (v) mitigation measures proposed to

alleviate adverse environmental impacts were hurriedly included without analysis; and (vi) the

public was denied meaningful engagement in the process.

       Moreover, in the haste to approve the project, the EA assessed a range of seven widely

varying schemes, none of which were recommended as the final tolling construct by the Traffic

Mobility Review Board (“TMRB”) and approved by the MTA. The Executive Summary of the

EA instructs that the “most important factor in the magnitude and distribution of effects from the

Project is the toll rate.” AR 29 at ES-13 (emphasis added). Yet, that toll rate was unknown to the

FHWA at the time of its analysis, and the TMRB recommendation contains many additional

components—hours, exemptions, credits, and discounts—that have never been subject to

environmental review or public comment, either individually or as a comprehensive tolling plan.

In a proposal of this magnitude, getting to the finish line without an EIS in order to begin collecting

revenue betrays the core purpose of NEPA—to ensure deliberate consideration is given prior to

undertaking major federal action.

       Relieving congestion, the original rationale for congestion pricing, should have been the

primary goal. Yet, the regressive—and, for many, draconian—$15 tax on New York City residents

and commuters (which may increase over time) is a wholly ill-fitting solution to solving New York

City’s congestion. Recent estimates suggest—and the MTA has confirmed—that between 40-50%

of all midtown traffic comes from Uber and Lyft vehicles, vehicles that will be charged far less

($2.50) under the TMRB tolling program. MTA could have focused on these app-based services

(not to mention better fiscal management or millions lost in fare evasions), rather than burdening




                                                  6
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 13 of 62




families, like Plaintiffs, who need to travel to New York City for work, school, medical

appointments, and to see families and friends.

        The lack of serious analysis in the EA or FONSI of the geographic areas in which many of

the Plaintiffs live, Battery Park City and the residential Lower East Side, is a microcosm of

Defendants’ failure to take a true “hard look” at the significant impact of Congestion Pricing.

Battery Park City is a family-laden community in New York City that stands to suffer considerably

from Congestion Pricing. While included within the definition of the “Central Business District”

under the program, Battery Park City and the Lower East Side are not commercial business

districts; they are primarily residential neighborhoods. Given the narrow width of all of Lower

Manhattan, and its proximity to critical exempted thoroughfares, specifically the West Street/West

Side Highway and FDR Drive, Congestion Pricing will likely lead to a significant diversion of

traffic to Battery Park City and its neighboring Lower East Side communities. Battery Park City

is cabined in from the rest of New York City by the West Side Highway; residents cannot leave

the neighborhood without using or crossing the exempted thoroughfare. For residents of Battery

Park City, some 25% of whom own and park their cars downtown, trips away from home could

result in $15 in increased tolls. 8 There will likely be more congestion, reduced air quality, and

unsafe streets for pedestrians in the area, which is densely populated with public, private, and

nursery schools. Yet, aside from the cursory and inconsistent modeling of a few intersections

along West Street, Battery Park City was virtually ignored.


8
  There remains unresolved confusion as to whether every trip outside of Battery Park City will require residents to
pay the $15 toll. The Congestion Pricing toll is charged when entering and exiting the CBD and the CBD does not
include “the West Side Highway/Route 9A, the Battery Park Underpass, and any surface roadway portion of the Hugh
L. Cary Tunnel connected to West Street.” It therefore stands to reason that Battery Park City residents would be
charged each time they use the exempted thoroughfare. That said, the FAQs to the EA suggest that a vehicle would
not be charged a toll for remaining in the CBD if it uses one of the “excluded roadways,” such as the West Side
Highway, “before re-entering South of 60th Street in Manhattan.” But the explanation comes in the specific context
of parking a vehicle in the CBD, and the language is hardly a model of clarity. Plaintiffs have sought clarification
from MTA counsel on this point.

                                                         7
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 14 of 62




       Battery Park City also stands in close proximity to a number of environmental justice

communities in downtown Manhattan, including the Lower East Side, Chinatown, and residential

neighborhoods alongside the FDR Drive (including Stuyvesant Town, Peter Cooper Village, and

Waterside Plaza), that will suffer considerably from the inevitable environmental consequences of

an estimated 26% increase in traffic under Congestion Pricing on the highway.             The EA

acknowledges that Congestion Pricing will have disproportionately adverse impacts on

environmental justice communities, including where Plaintiffs live in the Lower East Side, and in

Staten Island, the Bronx, and New Jersey, but does not sufficiently analyze them and includes

precious few measures to mitigate the impacts. Without any details of these measures, it is unclear

how Defendants could have concluded that Congestion Pricing will have no significant

environmental impact. If the Project Sponsors did not even know what the specific mitigation

measures would be—let alone their efficacy— the impacts cannot be said to have been mitigated.

       Defendants have stressed the “4,000-page” EA performed by the Program Sponsors as

evidence that a sufficient environmental review was conducted. Yet, even if the total number of

pages was 4,000 (and the number is thousands less without appendices) and even if the quantity

of pages were a fair proxy for the quality of environmental analysis—and, of course, it is not—

one would look in vain in the EA for any meaningful analysis of the impact of Congestion Pricing

on the residents of Battery Park City. Simply, Defendants did not take a “hard look” at the impact

on the neighborhood of Battery Park City. That failure reflects an arbitrary and capricious

decision, subject to reversal and remand for a full EIS.

       Two final points merit mentioning at the outset. First, for years, Defendants and other

supporters of Congestion Pricing have heralded London’s congestion program as evidence that

New York City need implement a similar project. Yet, by most accounts, London is more



                                                 8
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 15 of 62




congested now than ever, in large part because of the significant rise of ride-share vehicles such

as Uber and Lyft and expansion of bus and bike lanes (as is precisely the case in New York City). 9

           Second, even if London’s program were an effective model to emulate (and, unlike

Defendants’ program, London allows congestion zone residents a 90% discount), London and

other cities made sure to implement public transit improvements before congestion pricing went

into effect to ensure that the system could accommodate a major shift in travel behavior. That was

the original plan in New York City. Indeed, the very first recommendation in the 2018 “Fix NYC

Advisory Panel Report,” the most recent comprehensive analysis that studied congestion in New

York immediately before the Legislature’s Traffic Mobility Act, was that the project must have a

“phased approach.” The Panel explained that it had “learned lessons from international examples

that strongly support first investing in public transportation alternatives before implementing a

zero-pricing plan to reduce congestion” in order “to accommodate those who may choose to leave

their vehicles at home.” 10 Yet, no material investing or improvements have been made to mass

transit in advance of Congestion Pricing. Quite the opposite, as the City attempts to recover from

the COVID-19 pandemic, the public transit system in New York City, already inefficient and

unreliable, now calls for National Guard and State Police Officers to ensure basic public safety

(recent shootings and violence in the subways have further eroded confidence in mass transit).

Without the proper initial investment in transit, drivers will be unable or unwilling to change their

behavior and Congestion Pricing is likely to just shift congestion to the outer-boroughs and Lower

Manhattan communities, rather than eliminate it.




9
 Joe Borelli, London Isn’t a Winning Example of Congestion Pricing – It’s a Warning, N.Y. Post (Feb. 14, 2024),
https://nypost.com/2024/02/14/opinion/london-isnt-a-winning-example-of-congestion-pricing-its-a-warning/
10
     HNTB, Fix NYC Advisory Panel Rep., supra n. 2, at 4.

                                                        9
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 16 of 62




        Congestion Pricing has been contemplated for decades. After all this time, it is hard to

imagine that this current half-baked iteration, imposing, for many, crippling daily fees and

increased air pollution in New York’s and New Jersey’s most economically vulnerable

communities, failed to make necessary improvements to mass transit before implementation and

neglected to fully evaluate the best way to accomplish the supposed premise of the program –

reducing congestion. That is the inevitable result of a process far more focused on MTA revenue

than on reducing congestion and improving the lives of all New Yorkers.

                                     FACTUAL BACKGROUND

        A.      New York Attempts To Implement Congestion Pricing—The First Of Its
                Kind In U.S. History

        In 1991, Congress established the Value Pricing Pilot Program (“VPPP”) as a pilot program

for congestion pricing. The VPPP, by supporting programs throughout the country, was intended

to demonstrate whether, and to what extent, roadway congestion could be reduced through

congestion pricing strategies. While the VPPP no longer actively solicits projects or dispenses

federal funds, FHWA must still approve tolling schemes proposed by state and local governments

that would toll existing federal-aid highway lanes before they can be implemented. 11

        In recent years, New York City has attempted multiple times, without success, to

implement congestion pricing. In 2007, then-Mayor Michael Bloomberg attempted to implement

congestion pricing in New York through a program called “PlaNYC: A Greener, Greater New

York.” 12 PlaNYC sought to implement an $8 toll for cars traveling to Manhattan between 6:00




11
      Id.;    FHWA,      U.S.    Dep’t    of    Transp.,   Value    Pricing     Program    (Aug.   22, 2022),
https://ops.fhwa.dot.gov/congestionpricing/value_pricing/index.htm; FHWA, U.S. Dep’t of Transp., Frequently
Asked Questions (Feb. 11, 2022), https://ops.fhwa.dot.gov/congestionpricing/faq/index.htm#faq_05_08.
12
    Jen Chung, Mayor Bloomberg Says Congestion Pricing and Likes It, Gothamist (Apr. 23. 2007),
https://gothamist.com/news/mayor-bloomberg-says-congestion-pricing-and-likes-it.

                                                     10
             Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 17 of 62




A.M. and 6:00 P.M. on weekdays to reduce congestion. 13 However, the program was heavily

criticized based on its faulty assumption that more riders could simply switch to public transit to

avoid paying the toll. 14 Due to the lack of public support, state assembly leaders blocked the

project in 2008. 15

            In October 2017, then-Governor Andrew Cuomo tasked a “Fix NYC Advisory Panel” with

developing recommendations to address congestion in Manhattan and identify sources of revenue

to fix the ailing subway system. 16 In January 2018, this panel recommended a phased-in approach,

concluding that, as was the case in London, “the MTA must first invest in public transportation

alternatives and make improvements in the subway system before implementing a zone pricing

plan to reduce congestion.” 17 The report explicitly contemplated that this would require the

“completion of an Environmental Impact Statement (EIS).” 18 (The failure to produce an EIS,

changed conditions post-pandemic, and the lack of investment and public confidence in today’s

mass transit system have led Governor Cuomo to now call on the MTA to “hit the brakes” on

Congestion Pricing, despite originally signing it into law). 19

            Fix NYC’s sensible approach to congestion pricing was disrupted when, in April 2019, the

New York State Legislature passed the Traffic Mobility Act. The Traffic Mobility Act authorized



13
   Id.; Laura Bliss, New York City Could Finally Try Congestion Pricing, Bloomberg (Aug. 16, 2017, 7:00 AM),
https://www.bloomberg.com/news/articles/2017-08-16/new-york-city-has-a-new-congestion-pricing-plan.
14
  See William Neuman, Some Subways Found Packed Past Capacity, N.Y. Times, June 26, 2007,
https://www.nytimes.com/2007/06/26/nyregion/26mta.html.
15
  Nicholas Confessore, $8 Traffic Fee for Manhattan Gets Nowhere, N.Y. Times, Apr. 8, 2008,
https://www.nytimes.com/2008/04/08/nyregion/08congest.html.
16
     See HNTB, Fix NYC Advisory Panel Rep., supra n. 2.
17
     Id. at 3 (emphasis added).
18
     Id. at 5.
19
   Andrew Cuomo, Yes, I approved congestion pricing but it’s time to hit the brakes, N.Y. POST (March 11, 2024,
10:21 PM), https://nypost.com/2024/03/11/opinion/andrew-cuomo-yes-i-approved-congestion-pricing-but-its-time-
to-hit-the-brakes/.

                                                          11
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 18 of 62




the Triborough Bridge and Tunnel Authority (“TBTA”) to charge vehicles entering or remaining

in Manhattan’s CBD a toll that “at minimum, ensure[s] annual revenues and fees collected under

such program . . . fund fifteen billion dollars for . . . the 2020 to 2024 MTA capital program,” as

well as any successor programs, while reducing traffic congestion within the CBD. N.Y. Veh. &

Traf. L. § 1704-a(1) (2021). The CBD generally includes the entirety of Manhattan south of and

inclusive of 60th Street, with a few key exceptions, including the FDR Drive, the West Side

Highway (in the CBD, much of it is West Street), and the Battery Park Underpass, which all lead

to or surround Battery Park City. N.Y. Veh. & Traf. L. § 1704(2).

       The Traffic Mobility Act imposed just two requirements: (1) an exemption for qualifying

vehicles transporting persons with disabilities and authorized emergency vehicles; and (2) tolling

passenger vehicles no more than once per day. N.Y. Veh. & Traf. L. § 1704-a(1), (2). In addition,

residents of the CBD earning less than $60,000 would receive a tax credit equal to the number of

tolls paid. N.Y. Tax L. § 606(jjj) (2014). The remaining details of the congestion pricing program

were completely relegated to the TBTA and its appointed TMRB. N.Y. Veh. & Traf. L. § 1704-

a(3), (4). Based on the TMRB’s recommendations, the TBTA would set the toll price for different

types of vehicles, the time period when the toll would be operative, credits to cars that access the

CBD through bridges and tunnels and already pay a toll, discounts to applicable vehicles and

drivers, how to address for-hire vehicles (i.e., taxis and ride-share vehicles), and exemptions from

the toll. See id.; AR 29 at 2-30 to 2-34.

       Following the Traffic Mobility Act’s enactment, the Project Sponsors began developing

proposals for Congestion Pricing and submitted an Expression of Interest to the FHWA, seeking

tolling authority under the VPPP to implement the program. AR 29 at 0-1. To approve the




                                                12
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 19 of 62




program under the VPPP, FHWA had to perform an environmental review under NEPA. 20 23

C.F.R. § 771.109 (2023).

           B.      NEPA’s Role In Ensuring Federal Agencies Give Proper Weight To
                   Environmental Consequences Of Proposed Actions

           In 1970, Congress passed NEPA “to ensure Federal agencies consider the environmental

impacts of their actions in the decision-making process.” 40 C.F.R. § 1500.1(a) (2023). NEPA

fulfills this purpose by: (1) requiring agencies to take a hard look at the environmental impacts of

an action before it occurs; and (2) providing the public with a “role in both the decision-making

process and the implementation of that decision.” Robertson v. Methow Valley Citizens Council,

490 U.S. 332, 349–50 (1989).

           Under NEPA, the lead agency funding, authorizing, or implementing a proposed action—

here, the FHWA—must conduct and prepare an EA analyzing the proposed action’s direct,

indirect, and cumulative impacts to determine whether or not the action would “significantly

affect[] the quality of the human environment.” 42 U.S.C. § 4332(2)(C). If the lead agency finds

that the action will significantly affect the quality of the human environment, the agency must

prepare an EIS. 40 C.F.R. § 1501.5(c)(1); 23 C.F.R. § 771.119(i). An EIS requires a detailed and

rigorous assessment of the proposed action, and takes an average of four to five years to

complete. 21 See 42 U.S.C. § 4332(2)(C). If the lead agency finds that the proposed action will

have no significant impact on the environment, it may issue a Finding of No Significant Impact

(“FONSI”). 40 C.F.R. § 1501.6. If the decision is a “close call,” the agency should prepare an

EIS. Nat’l Audubon Soc. v. Hoffman, 132 F.3d 7, 13 (2d Cir. 1997). Only after a determination



20
     To date, FHWA has not approved the congestion pricing scheme pursuant to the VPPP.
21
   Exec. Off. of the Pres. Council on Env’t Quality, EIS Timelines (2010-2018), June 12, 2020, available at
https://ceq.doe.gov/docs/nepa-practice/CEQ_EIS_Timeline_Report_2020-6-12.pdf.

                                                        13
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 20 of 62




that none of a proposed action’s direct, indirect, or cumulative effects has a substantial possibility

to significantly affect the quality of the human environment—accounting for planned mitigation—

may a federal agency be relieved of its duty to prepare an in-depth EIS and instead issue a FONSI.

         Since January 1, 2020, the FHWA has been required to prepare more than 20 EISs. 22

Examples include the FHWA preparing an EIS for the Chesapeake Bay Crossing Study—which

sought to decrease congestion at the Bay Bridge in Maryland by utilizing existing roadway

infrastructure 23—and the Hood River-White Salmon Interstate Bridge Replacement Project, which

involved replacing an old bridge and funding it through installation of electric tolling. 24 The

FHWA has also required a full EIS for at least eight projects in New York State over the past ten

years, each significantly less complex or far reaching than the Congestion Pricing plan at issue

here. 25 To widen the Van Wyck Expressway in 2019 by one lane in each direction, FHWA

required an EIS. 26 The impact of these projects pale in comparison to the impact Congestion

Pricing would have on New York and the broader tri-state area.

         C.       The “Fast Track” Approval Of Congestion Pricing

         Uncertainty over the scope of Congestion Pricing, the proper process for review, and

changes in political leadership defined a project characterized by fits and starts from 2019 to 2021.


22
    See EPA, NEPA: Environmental Impact Statement (EIS) Database, https://cdxapps.epa.gov/cdx-enepa-
II/public/action/eis/search/ (last visited Feb. 28, 2024). Data were filtered by Agency (“FHWA”) and Federal
Registration Publication Date (Jan. 1, 2020 to Jan. 1, 2024). Repeating EIS records and supplements were discarded
from the count, as well as any projects that consulted the FHWA but did not list the FHWA as the lead agency.
23
   EPA, EIS Database, FHWA, Final EIS, Chesapeake Bay Crossing Study: Tier 1 NEPA at 6-11 (Mar. 2021),
https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=323312.
24
   EPA, EIS Database, FHWA, Suppl. Draft EIS, Hood River – White Salmon Interstate Bridge Replacement Project
at 4-11 (Nov. 2020), https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=314171.
25
   See EPA, EIS Database, https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/search/ (last visited Mar. 11, 2024).
Data were filtered by Agency (“FHWA”) and Federal Registration Publication Date (Jan. 1, 2014 to Jan. 1, 2024).
Repeating EIS records and supplements were discarded from the count, as well as any projects that consulted the
FHWA but did not list the FHWA as the lead agency.
26
   See EPA, EIS Database, FHWA, Final EIS, Van Wyck Expressway Capacity and Access Improvements to JFK
Airport Project (Aug. 30, 2019), https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=279281.

                                                         14
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 21 of 62




Despite the MTA participating in over a dozen meetings with the FHWA under the previous

administration since the Traffic Mobility Act passed in April 2019, the program’s implementation

was continually delayed because the FHWA “repeatedly failed to provide the MTA with guidance

as to” whether an environmental assessment or an EIS was required. 27 See 23 C.F.R. § 771.115.

Nearly two years later, in February 2021, CEO Janno Lieber indicated that the FHWA is “going

to fast-track our environmental process.” 28 The next month, Lieber again confirmed the “good

news” that the FHWA “will be fast tracking the MTA’s environmental process, which will

certainly get the MTA moving forward towards being able to realize this source of funds and

instituting [congestion pricing].” 29 On March 30, 2021, the FHWA authorized the Project

Sponsors to proceed with a NEPA Class III action, which called for the creation of an EA to

determine whether the congestion pricing plan would have a significant environmental affect. 30

AR 1031; see also 23 C.F.R. § 771.115(c). In its authorization letter, the FHWA emphasized it

would “expedite its efforts wherever possible.” AR 1031 at 2.

        D.       The Draft EA – A Process Driven By Revenue And Rush

        On August 10, 2022, the Project Sponsors published the Draft EA. The Draft EA made

clear that the Project Sponsors’ primary goal was to generate $15 billion for the MTA. See AR

36. The stated purpose of the project in the Draft EA was to “reduce traffic congestion in the

Manhattan CBD in a manner that will generate revenue for future transportation improvements.”



27
   Erik Bascome, NYC Congestion Pricing May Be Pushed Forward Under Biden, Silive (Feb. 26, 2021, 1:09 PM),
https://www.silive.com/news/2021/02/nyc-congestion-pricing-may-be-pushed-forward-under-biden.html.
28
  Alissa Walker, Sec’y Pete Is Already Coming Through for New York City on Congestion Pricing Curbed (Feb. 23,
2021), https://www.curbed.com/2021/02/congestion-pricing-nyc-approval-pete-buttigieg.html.
29
   MTA, MTA Board Meeting on March 17, 2021 Minutes, in MTA Board Action Items, at 15 (Mar. 17, 2021),
http://new.mta.info/document/33901.
30
   If the FHWA concluded that the congestion pricing program significantly affected the environment, it would have
to prepare a more in-depth EIS. See 23 C.F.R. § 771.115(a).

                                                       15
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 22 of 62




AR 36 at ES-5 (emphasis added). It specified that the MTA’s Congestion Pricing was intended

to: (1) reduce daily vehicle miles traveled (“VMT”) in the CBD by at least 5%; (2) reduce the

number of vehicles entering the CBD by at least 10%; (3) create a funding source capable of raising

$15 billion for the MTA Capital Project; and (4) establish a tolling program consistent with the

Traffic Mobility Act. 31 AR 36 at ES-6.

        However, the Draft EA did not analyze the environmental impact of any particular

congestion pricing program with a specific price, credits, discounts, and exemptions. Instead, the

Draft EA purported to analyze the environmental effect of a number of tolling scenarios—which

all differed in price, structure, and credits/exemptions—in comparison to a single “no-action”

alternative (i.e., not implementing the program). See AR 36 at ES-7, ES-11. Other alternative

programs to comply with the Traffic Mobility Act were largely taken from a 2008 New York City

traffic congestion study, and proposals such as high occupancy toll lanes, mandatory carpooling,

and parking pricing strategies were eliminated solely because they could not individually solve

one of the Program’s goals—funding $15 billion to the MTA, despite the fact that they would have

reduced traffic congestion. See AR 36 at ES-8 to ES-9. The FHWA also failed to consider whether

a combination of any of the alternatives could meet its goals. See id.

        Based on the scenarios, the FHWA determined that although the congestion pricing

program would decrease harmful emissions as a whole in Manhattan, the redirected traffic from

drivers attempting to avoid the toll would result in added congestion and increases in every

category of pollutant (six categories of mesoscale pollutants and nine categories of MSAT

pollutants) in the Bronx, Staten Island, and Bergen County, in some cases for the next 20 years.




31
   The EA did not include the fourth Project goal as one of these objectives—“Establish a tolling program consistent
with the purposes underlying the New York State legislation.” AR 29 at 2-5.

                                                        16
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 23 of 62




See AR 36 at 10-21 to 10-35. Moreover, Battery Park City received scant mention or analysis

throughout the EA, and, aside from a few intersections analyzed (four of 102 intersections

reviewed), its metrics were alternatingly grouped with all of Manhattan and Lower Manhattan

despite the fact that the FDR Drive and West Street are both exempted thoroughfares bordering

Battery Park City, likely bringing diverted traffic and resulting pollution similar to economic

justice communities in Queens and the Lower East Side, where several Plaintiffs reside. See

generally AR 36. Moreover, the FHWA provided but 30 days to comment on this highly complex

document, which was subsequently extended by a mere 14 days despite requests for substantially

longer extensions. See ECF 40 ¶ 11. Despite the tight timeframe, the FHWA and the Project

Sponsors received more 69,000 letters, largely in opposition to the program. See ECF 49 ¶ 12.

       One of the main criticisms of the Draft EA came from sister federal agency, the EPA, which

undoubtedly has more experience and expertise in environmental impacts than any of the Project

Sponsors. The EPA criticized the Draft EA for insufficient data surrounding disproportionate air

quality impacts. AR 20 at 18C-467. The EPA “remain[ed] concerned” about the potential for

adverse air quality impacts in locations such as the Bronx, Staten Island, and Bergen County, where

traffic congestion will likely worsen due to Congestion Pricing and concluded that benefits and

burdens of Congestion Pricing are unevenly distributed, “with some costs falling

disproportionately on overburdened communities.” AR 20 at 18C-467, 18C-471. In 12 detailed

pages, the EPA recommended additional measures for the Project Sponsors to take prior to

finalizing the EA. The actions included (i) a “more expansive microscale screening analysis” for

all counties studied; (ii) an analysis of the air quality impact on environmental justice communities

near traffic diversion areas (particularly since air quality was evaluated only at a county level);

(iii) consideration of existing health disparities in New York City, including asthma in



                                                 17
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 24 of 62




communities with environmental justice concerns; (iv) a partnership with internal or external

partners with expertise on the socioeconomic impacts of tolling; and (v) using standardized data

to reflect the impact of the COVID-19 pandemic because the EPA was “concerned that the Draft

EA relies on potentially dated and inaccurate data.” AR 20 at 18C-469 to 18C-472. Without these

(and other) additional analyses performed, the EPA was “unable to confirm” that the

environmental impacts would be “less than significant without appropriate mitigation” and

suggested concrete mitigation should be identified “rather than rely[ing] on post-implementation

monitoring to inform mitigation decisions.” AR 20 at 18C-467.

       E.      The Preordained Result—The FHWA Issues The EA And FONSI Without
               Requiring The Project Sponsors To Prepare An EIS.

       On May 12, 2023, the FHWA published the EA, along with a Draft FONSI. ECF 49 ¶ 74.

In line with the promised fast tracking of NEPA’s environmental review process, the Draft FONSI

summarily concluded that the “Proposed Action . . . will have no significant impact on the human

or natural environment,” AR 865 at DOT_0040590, absolving the Project Sponsors of their duty

under NEPA to prepare an EIS to fully analyze possible environmental harms associated with the

program. 23 C.F.R. § 771.119(i). The conclusion of “no significant impact” was reached in the

face of significant adverse impacts and without knowing any of the core elements of the ultimate

tolling structure—the toll price, peak hours, exemptions, credits, and discounts for drivers.

       The EA remained largely unchanged from the Draft EA. AR 29 at 0-2 to 0-4 (listing

changes and stating that “[m]ost of the text in the Final EA remains unchanged from the August

2022 EA”). Although the Project Sponsors added some mitigation measures, they did not include

any meaningful mitigation for Battery Park City, Staten Island, or New Jersey, nor any

individualized analysis of the listed mitigation. Indeed, despite adding analysis, the EA did not

add even a single mention of Battery Park City. The lack of significant change to the EA, in the


                                                18
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 25 of 62




face of clear and detailed concerns raised by the EPA and despite the 69,000 comment letters

submitted, is telling. While a brief email from the EPA to the Project Sponsors indicating that the

agency acknowledged certain “improvements” in the EA was sent—coming only after critics of

Congestion Pricing cited to the EPA’s earlier devastating critique—the email reflects no analysis

of the deficiencies the EPA had previously raised (supra at 17-18) nor, significantly, was the email

subject to public information or scrutiny, key aspects of the NEPA process. See AR 1229.

         In an added section titled “Regional and Place-Based Mitigation Measures,” the EA

committed to limited mitigation measures, including establishing an asthma center in the Bronx,

installing roadside vegetation, implementing electric truck charging infrastructure (though no

discount is provided for the use of electric vehicles), replacing transport refrigeration units at Hunts

Point Produce Market, and tolling vehicles traveling northbound on the FDR Drive that exit at East

Houston Street and then travel southbound on the FDR Drive. AR 29 at 17-65; AR 361 at 15.

Reflecting the sparse nature of these actions was the paltry amount of funding set aside for these

mitigation measures: $155 million was committed over five years from the $15 billion expected

to be received by the MTA from Congestion Pricing. AR 29 at 17-65.

         Many of these mitigation measures were utterly vague and open-ended; for example, the

“plan” to install park greenspace and roadside vegetation each stated that “[t]he Project Sponsors

will work with relevant local and state agencies to assess the” availability of potential locations

for these mitigation measures. AR 29 at 17-66. 32 And the only mitigation measure arguably aiding

Battery Park City involved tolling some additional vehicles on the FDR Drive, which might reduce

some of the added congestion, was entirely unsupported by any data or analysis as to how or to



32
  The EA failed to account for the fact that in a parallel project that did require an EIS, the “Coastal Resiliency
Project,” the City uprooted nearly 1,000 healthy trees along the FDR Drive and is installing large concrete walls,
“de-greening” the entire area.

                                                          19
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 26 of 62




what extent this would mitigate the disproportionate impacts in that area. Indeed, it is entirely

unclear how the hastily prepared, vague and unsupported “mitigation” measures could be said to

mitigate environmental impacts at all given that no specifics, let alone analysis, was conducted as

to their efficacy.

        The Draft FONSI was made available for public review for only 30 days. On June 12,

2023, Plaintiff Elizabeth Chan, on behalf of her then-named organization, Families for Battery

Park City, sent a comment letter raising the following issues, among others:

        •    Battery Park City was omitted from meaningful analysis. The Battery Park City
             Community, with a quarter of its population under 17 years of age (and also a large
             population of elderly residents) directly abuts West Street, which has schools, parks,
             playgrounds, residences, offices, stores, and a bike path directly adjacent to it.
             Congestion Pricing would increase traffic congestion on West Street as well as the FDR
             Drive, which poses serious traffic, public safety, and health concerns.
        •    No environmental analysis was conducted as to the impact of increased traffic on the
             exempted thoroughfares on the Lower Manhattan community.
        •    No analysis was done to consider the significant financial hardship on those living in
             Battery Park City, that does not have a subway in its 92-acres and whose only roadways
             in and out are via the West Side Highway crossing.
        •    No analysis was done with respect to the many schools in Lower Manhattan, including
             the environmental impact as well as the financial impact on the many Battery Park City
             and Lower Manhattan families who drive their children to and from school.

Plaintiffs’ letter was met with silence. 33

        The FHWA published the FONSI without any notable changes on June 23, 2023. See ECF

49 ¶ 79.     While recognizing “potential adverse effect[s]” for air quality, subway ridership,

increased congestion due to traffic diversions on exempted thoroughfares, and that “some

[environmental justice] communities that are already overburdened by pre-existing air pollution



33
  The letter was both emailed and mailed to officials at the FHWA, the EPA, the Federal Transit Administration, the
MTA, the NYSDOT, and the NYCDOT. For some reason, the submission was not included in the Administrative
Record though it should have been and is annexed as Exhibit “1” to the Declaration of Elizabeth Chan, dated March
18, 2024 (“Chan Decl.”), submitted alongside this Memorandum of Law. The Declaration also details the impact of
Congestion Pricing on Plaintiffs and their stymied attempts to engage in the NEPA process.

                                                        20
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 27 of 62




and chronic diseases could see an adverse effect as a result of increased traffic,” the FONSI

somehow concluded that Congestion Pricing would have “no significant impact on the human or

natural environment.” AR 361 at DOT_0000363, 4, 6-7, 12-14. It left as “Next Steps” the need

to “define the CBD Tolling Program,” by which the TMRB “will recommend to the TBTA Board

the toll amounts and toll structure, such as crossing credits, discounts, and/or exemptions for

existing tolls paid on bridges and tunnels.” AR 361 at 25. It further left open how the “pricing

structure could vary by time of day, day of week, and day of year and could be different for

different types of vehicles.” AR 361 at 25. Because the EA did not commit to any particular tolling

price or structure, the FHWA indicated it would need to still “re-evaluate” the chosen rates and

tolling structure in the future to determine whether a FONSI is still appropriate. AR 361 at 26.

         F.       The TMRB Issues Its Recommended Toll Price And Structure 34

         On November 30, 2023, the TMRB released its recommended toll price and structure for

the congestion pricing program (“TMRB Recommendation”). Of course, the recommended toll

price and structure did not match any of the scenarios analyzed in the EA or FONSI, and had

several considerable changes from any of the analyzed tolls. Despite these changes, the Project




34
   Defendants did not include the TMRB Recommendation in the Administrative Record. However, in NEPA cases,
courts routinely look to critical evidence outside of the record because “NEPA imposes a duty on federal agencies to
compile a comprehensive analysis of the potential environmental impacts of its proposed action, and review of whether
the agency’s analysis has satisfied this duty often requires a court to look at evidence outside the administrative
record.” Nat’l Audubon Soc., 132 F.3d at 14-15; see also Suffolk Cnty. v. Sec’y of Interior, 562 F.2d 1368, 1384 (2d
Cir. 1977) (citations omitted) (“[I]n NEPA cases, by contrast, a primary function of the court is to ensure that the
information available to the decision-maker includes an adequate discussion of environmental effects and alternatives
which can sometimes be determined only by looking outside the administrative record to see what the agency may
have ignored.”). This includes information such as “events that transpired after the challenged action [that] ‘bear upon
the issues before [the court],’” particularly when such evidence “illuminates the original decision or shows ‘that the
Agency proceeded upon assumptions that were entirely fictional’” or without support. Nio v. United States Dep’t of
Homeland Sec., 385 F. Supp. 3d 44, 61- 62 (D.D.C. 2019) (citations omitted). The TMRB Recommendation, which
transpired after the challenged action, plainly illuminates the FHWA decision, bears squarely on the issues before the
Court and shows that the agency proceeded upon faulty assumptions. It is attached to the Klinger Decl. as Exhibit
“1”.

                                                          21
            Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 28 of 62




Sponsors did not attempt to reevaluate the assumed environmental impacts, mitigation measures,

or any other conclusions in the EA or the FONSI.

           First, the recommended “peak” daytime toll rate applied for an extra two hours each day

compared to the scenarios—from 5:00 AM to 9:00 PM on weekdays and 9:00 AM to 9:00 PM on

weekends—capturing many more drivers and causing further diversion of traffic to surrounding

areas. 35 See TMRB Recommendation at 8. In fact, the proposed peak hours exceed the peak hour

schedules of the transit systems, like the Long Island Railroad and Metro-North, meant to

accommodate these drivers. Second, the TMRB applied a $15 toll for passenger vehicles and

passenger-type vehicles, even though none of the scenarios analyzed that toll price. 36 Id. Third,

the Recommendation provided a $5 crossing credit for those traveling through the Queens-

Midtown, Hugh L. Carey, Lincoln, and Holland Tunnels, but declined to offer a similar credit to

the George Washington and Verrazano Bridges. 37 Id. Fourth, the Recommendation charges for-

hire-vehicles (e.g., taxis and Ubers) per ride, 38 even though the EA never contemplated a per-ride

toll. Id. The amount, times, locations of the toll pricing, and structure doubtless would impact the

volume and location of traffic affected by the plan, especially on the exempted roadways

surrounding areas like Battery Park City. None of this has been analyzed or even acknowledged

by the Project Sponsors, and yet the plan moves forward.

           The recommendation of the TMRB was adopted by the MTA and TBTA on December 6,

2023. ECF 49 ¶ 138. Though the State Administrative Procedure Act requires the MTA and


35
     All other hours are considered “off-peak” and are priced 75% lower than the peak toll.
36
  To put the $15 toll in context, an individual resident in BPC or lower Manhattan traveling five times per week out
of the CBD would face $75 per week, and over $3,000 per year in additional costs, a significant amount of after-tax
dollars (on top of existing tolls and mileage costs). And BPC residents are already some of the most highly taxed
residents in New York State.
37
     These crossing credits only apply during peak toll hours.
38
     Taxis will be charged $1.25 per ride, while Ubers will be charged $2.50 per ride.

                                                            22
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 29 of 62




TBTA to conduct a public hearing and comment process before implementation, the process was

a formality. Hearings were limited to four days, including three consecutive business days,

speakers were limited to two minutes of time to make their case, and the MTA publicly stated that

the recommendation will largely remain the same (despite widespread public opposition). The

MTA has said that it expects congestion pricing to “go[] live in late spring,” 39 giving little credence

to the various litigations brought against the program. Ninety-five percent of the infrastructure for

Congestion Pricing has been built as of last month, 40 and the MTA has already indicated—despite

not having any of the components in place at the time of the EA analysis—that the recommendation

cannot materially change because “[i]f you change one aspect . . . the whole thing starts to unravel

or fall apart.” 41 While the MTA/TBTA hearing process, much like the NEPA process, pays lip

service to public input and participation, in reality, the process was focused on expeditious

approval of Congestion Pricing.

                                                ARGUMENT 42

        When reviewing the substance of an Agency’s action under the APA (i.e., the decision of

whether to prepare an EIS), the Court should hold unlawful and set aside actions that are “arbitrary

and capricious, an abuse of discretion, or otherwise not in accordance with the law.” 5 U.S.C.

§ 706(2)(A); see also Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 763 (2004).


39
  See MTA, MTA Board Meeting - 12/6/2023, YouTube (Dec. 6, 2023), https://www.youtube.com/live/0pfJ-
S9myBk?si=4BnXippfzAml3OoC&t=6022 at, 1:40:22 (Allison C. de Cerreño (MTA Chief Operating Officer):
“We’re looking forward to going live in late spring.”).
 Andrew Siff, MTA Gives Congestion Pricing Update Ahead of First Public Hearing, NBC (Feb. 28, 2024, 3:02
40

PM), https://www.nbcnewyork.com/traffic/transit-traffic/congestion-pricing-nyc-manhattan-how-it-works/5177568/.
41
  Stephen Nessen &Clayton Guse, Don’t Expect Changes to MTA’s Congestion Pricing Even After Final Pub. Review,
Gothamist (Dec. 8, 2023), https://gothamist.com/news/changes-to-mtas-congestion-pricing-nyc-nj (quoting MTA
Chair and CEO Janno Lieber). Despite this proclamation, in the middle of the 60-day comment period on the TMRB
recommendation, the MTA announced a limited program for individuals with disabilities to apply for a toll exemption,
evidencing the inadequacy of the EA analysis, one of, Plaintiffs submit, many.
42
  Plaintiffs’ Motion for Summary Judgment and accompanying Memorandum of Law is limited to Plaintiffs’ NEPA
claims. See ECF 31 at 2 (deferring state and federal constitutional claims).

                                                        23
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 30 of 62




I.     DEFENDANTS’ DECISION TO ISSUE A FONSI WAS ARBITRARY AND
       CAPRICIOUS

       NEPA requires an agency to prepare an EIS if it will be undertaking a “major Federal

action[]” that “significantly affect[s] the quality of the human environment.”              42 U.S.C.

§ 4332(2)(C).    Regulations interpreting NEPA direct the agency to determine whether the

proposed action is “significant” by analyzing both the potentially affected environment and degree

of the effects of the action. See 40 C.F.R. § 1501.3; Nat’l Parks & Conservation Ass’n v. Babbitt,

241 F.3d 722, 731 (9th Cir. 2001) (citations omitted) (“Whether there may be a significant effect

on the environment requires consideration of two broad factors: ‘context and intensity.’) Where

the effects of a project are “likely to be highly controversial” and where the “possible effects on

the human environment are highly uncertain or involve unique or unknown risks” the action is

“significant” and an EIS is required. 40 C.F.R. §§ 1508.27(b)(4), (5). A proposed action is “highly

controversial” when there is a “substantial dispute [about] the size, nature, or effect” of the project.

Anderson v. Evans, 371 F.3d 475, 489 (9th Cir. 2004) (citation omitted).

       In National Parks & Conservation Ass’n v. Babbit, 241 F.3d at 731, the Park Service

received 450 comments after publication of the Draft EA, 85% of which were in opposition, to a

plan increasing cruise ships entering Glacier Bay National Park. The Ninth Circuit found that this

“outpouring of public protest,” including comments that the EA’s analysis was incomplete and

mitigation uncertain, was sufficiently “controversial” to require an EIS. Here, the outpouring of

far more opposition—69,000 public letters, largely in opposition—including comments about the

completeness of the EA, the scope of the impact of Congestion Pricing, and the sufficiency of

mitigation counsels for the same result.

       An agency can avoid preparing an EIS only if it conducts an EA and makes a Finding of

No Significant Impact that sufficiently explains why the proposed action will not have a significant


                                                  24
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 31 of 62




environmental impact. 40 C.F.R. § 1501.6(a); New York v. Nuclear Regul. Comm’n, 681 F.3d 471,

476 (D.C. Cir. 2012). Importantly here, “to prevail on the claim that federal agencies were required

to prepare an EIS, the plaintiffs need not demonstrate that significant effects will occur. A showing

that there are ‘substantial questions whether a project may have a significant effect on the

environment is sufficient.’” Anderson, 371 F.3d at 488 (quoting Blue Mountains Biodiversity

Project v. Blackwood, 161 F.3d 1208 (9th Cir. 2002)). Moreover, as discussed in greater detail in

Section II.D, where, as here, an agency finds significant effects but purports to avoid preparing an

EIS by mitigation measures, those measures can only be sufficient “if the agency finds that the

changes or safeguards in the project sufficiently reduce the [significant] impact to a minimum.”

Town of Cave Creek v. FAA, 325 F.3d 320, 327 (D.C. Cir. 2003) (citations omitted).

       The implementation of Congestion Pricing in New York is a major, highly controversial

action where the risks are highly uncertain. At the very least, there is a substantial dispute about

the effect of the tolling.   The EA and FONSI acknowledge that Congestion Pricing will:

(1) increase congestion on highway segments, exempted thoroughfares, and intersections,

resulting in increased delays and queues, AR 361 at 4; (2) increase ridership affected passenger

flows with the potential for adverse effects at transit locations, id. at 6-7; (3) financially burden

working class New Yorkers, id. at 8-9; (4) adversely impact air quality and significantly increase

air pollution from traffic diversion in the outer-boroughs and Lower Manhattan, AR 361 at 10; AR

29 at 10-23 to 10-24; (5) disproportionately affect low income drivers in environmental justice

areas who do not have a reasonable transit alternative, AR 361 at 12-13; and (6) disproportionately

pollute certain environmental justice communities already overburdened by pre-existing air quality

and chronic diseases, id. at 14. There is not a “substantial question” as to whether Congestion

Pricing will have a significant effect; it is a near certainty. The fact that it took 868-pages to



                                                 25
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 32 of 62




describe the impact of Congestion Pricing in the Draft EA proves the point. An EIS should have

been conducted for a project of this magnitude. Because FHWA’s FONSI is “based primarily on

its conclusory assertion—contradicted by the evidence in the record—that [congestion pricing]

will have no significant environmental impact” the Court should grant summary judgment to

Plaintiffs finding that an EIS should have been undertaken and vacate the EA and FONSI. Ctr.

for Bio. Diversity v. Nat’l Highway Traffic Safety Admin, 538 F.3d 1172, 1178, 1220 (9th Cir.

2008).

II.      THE EA AND FONSI FAILED TO TAKE A HARD LOOK AT CONGESTION
         PRICING

         Under NEPA, the agency is required to take a “hard look” at the environmental

consequences before taking any major action, including the decision not to issue an EIS. Balt.

Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 97 (1983). The role of the reviewing

court in determining whether the agency fulfilled its duty to take a “hard look” is to ensure that the

“agency has adequately considered and disclosed the environmental impact of its actions and that

its decision is not arbitrary or capricious.” Id; see also Nat'l Audubon Soc., 132 F.3d, at 14.

         In determining whether the agency took the requisite “hard look” at the proposed action,

the court’s inquiry “must ‘be searching and careful.’” Marsh v. Or. Nat. Res. Council, 490 U.S.

360, 374, 378 (1989). Though the court affords deference to an agency’s decision regarding

whether to prepare an EIS, to survive judicial review, the agency must: (1) “accurately identif[y]

the relevant environmental concern,” (2) take a “hard look at the problem in preparing its EA,”

(3) make a “convincing case for its finding of no significant impact,” and (4) show that even if a

significant impact will occur, “changes or safeguards in the project sufficiently reduce the impact

to a minimum.” Nuclear Regul. Comm’n, 681 F.3d at 477 (citation omitted). “The ordinary

practice is to vacate unlawful agency action,” United Steel v. Mine Safety & Health Admin., 925


                                                 26
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 33 of 62




F.3d 1279, 1287 (D.C. Cir. 2019), and courts “routinely vacate agency actions taken in violation

of NEPA.” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1050 (D.C.

Cir. 2021).

        A.      Defendants’ Issuance Of A FONSI Was Arbitrary And Capricious Because
                It Failed To Take A Hard Look At The Impacts Of Congestion Pricing On
                Battery Park City

        The FHWA’s issuance of a FONSI should be set aside as arbitrary and capricious because

it failed to take a “hard look” at the impacts of Congestion Pricing on a crucial region of the

Manhattan CBD: Battery Park City. Courts should find agency action arbitrary and capricious if

the agency “entirely failed to consider an important aspect of the problem.” Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). An agency’s failure

to analyze the “entire [] system” of a project and study traffic in particular geographic areas likely

to be impacted violates NEPA. See N. Cascasdes Conservation Council v. U.S. Forest Serv., 98

F. Supp. 2d 1193, 1198 (W.D. Wash. 1999). In Northern Cascades Conservation Council, 98 F.

Supp. 3d at 1196, 1198, an EA was ruled “arbitrary and capricious” because it failed to consider

the impact of increased off-road vehicle use on wildlife on adjacent trails likely to see an increase

in traffic outside the project area.

        Here, it is obvious that the FHWA failed to adequately consider the impact of its proposed

Congestion Pricing scheme on Battery Park City. This conclusion is underscored by the fact that

“Battery Park City” is only mentioned in the 958-page Final EA a total of 12 times, and not once

in the FONSI. The FHWA paid scant attention to Battery Park City, despite the fact that it sits

adjacent to two of the three exempted thoroughfares and holds the unique status of being entirely

penned in and separated from the rest of Manhattan. This dubious characteristic argues for a

significant increase in traffic under Congestion Pricing. See AR 29 at 17-79 to 17-80 (listing

locations “already overburdened by pre-existing air pollution and chronic diseases” that will see
                                                 27
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 34 of 62




increased traffic diversions, including along the FDR Drive); id. at 4B-6; see also id. at ES-13

(“Higher toll rates would increase traffic diversions as drivers avoid the toll.”). Recognizing the

impact of excluded thoroughfares, the FHWA included a separate “highways” analysis and studied

10 separate highway corridors, including the lower FDR Drive. AR 29 at 4B-18-19. Indeed, the

EA concluded that eight of the 10 highway corridors analyzed would experience higher traffic

volumes, and concluded that the lower FDR Drive would require mitigation measures to decrease

truck congestion. While the EA was particularly concerned with increased truck traffic and the

attendant environmental impact on the FDR Drive, the lower West Street/West Side Highway did

not receive the same treatment. The EA thus ignored this “important aspect” of Congestion

Pricing. See Sierra Club v. Mainella, 459 F. Supp. 2d 76 (D.D.C. 2006).

       One portion of the EA where Battery Park City is briefly mentioned is Chapter 5B, which

analyzes the effects of implementing the CBD Tolling Alternative on neighborhood character

based on the “traffic, transit, pedestrians and bicyclists, economic considerations, parklands,

historic and cultural resources, visual resources, air quality, and noise analyses.” AR 29 at 5B-1.

At the outset, Chapter 5B readily acknowledges that “[c]hanges in travel patterns can affect

neighborhood character by resulting in a notable change in vehicular and/or pedestrian traffic in

an area or a related change in vehicle noise or air quality, if that change in turn affects a defining

feature of the area’s neighborhood character.” Id. Chapter 5B details the “Affected Environment,”

describing the Manhattan CBD study area as consisting of three geographic regions: Lower

Manhattan, Canal Street to 14th Street, and Midtown Manhattan north of 14th Street. Id. at 5B-3.

“Lower Manhattan” is described as including the Battery Park City neighborhood. Id.

       Even within this limited area where Battery Park City is discussed in the EA, the FHWA’s

characterization of Lower Manhattan demonstrates that the agency failed to take the “hard look”



                                                 28
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 35 of 62




required under NEPA. Though the FHWA acknowledges that “[t]he area of Lower Manhattan

south of Chambers Street has experienced a notable increase in residential use in recent decades,

including conversion of prior office space into residential apartments,” it states that “[l]and uses

in the area include predominantly commercial and civic/government uses in the southernmost

portions of Lower Manhattan.” AR 29 at 5B-4 to 5B-5. However, Battery Park City is zoned for

residential use and is widely regarded as a neighborhood enclave for families, replete with parks

and schools. This overly broad mischaracterization of Lower Manhattan supports the finding that

that the FHWA failed to take a hard look at Battery Park City (and its surrounding communities).

        Chapter 5B of the EA also concludes that Congestion Pricing would have no adverse

effects on the entire Manhattan CBD. Id. at 5B-17. The FHWA goes on to provide a series of

“explanation[s] for its decision that runs counter to the evidence before the agency,” Motor Vehicle

Mfrs. Ass’n of U.S., Inc., 463 U.S. at 43, including that Congestion Pricing “would decrease

vehicular trips within most parts of the Manhattan CBD,” and that “[p]edestrian traffic in this area

would likely increase due to mode shift away from automobiles.” AR 29 at 5B-17 (emphasis

added). That may be true as an aggregate statistic, but it defies logic to expect a decrease in traffic

accumulation in Lower Manhattan along the exempted West Street, where drivers can get from the

west side of Manhattan to the east side without a toll by driving “around the horn.” 43 While the

EA cites a decrease in overall vehicle miles traveled under Congestion Pricing for the entire West

Side Highway south of 60th Street, AR 29 at 4A-35, the review of that overly expansive area does

not reflect a sufficiently hard look at residential Lower Manhattan.




43
  The phrase refers to a route down the FDR Drive and up the West Side Highway and vice-versa, used to avoid the
narrow and often confusing combination of streets in Lower Manhattan—a route likely to see increased congestion as
drivers seek to avoid the new toll.

                                                       29
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 36 of 62




         The environmental and safety issues for Battery Park City and Lower Manhattan, more

broadly, have been insufficiently reviewed.                 The EA acknowledges that for certain tolling

scenarios, Tolling Scenarios A and B, “volume increases would result from increased demand to

West Street and the FDR Drive via the Battery Park Underpass.” AR 29 at 4A-32. By publicly

stating that drivers can fully avoid tolls by driving on West Side Highway/9A, FDR Drive, Hugh

L Carey, and Battery Underpass, drivers will be incentivized to avoid the CBD, in part by utilizing

the “around the horn” option. As the EA recognizes, diversions around the Manhattan CBD will

increase traffic volumes. Id. at ES-13.

         Yet, when analyzing the environmental impact and air quality of Congestion Pricing on

Lower Manhattan, the EA inexplicably analyzes intersections using Tolling Scenarios C and D,

without any explanation for why the scenarios causing the most traffic volume were not utilized.

AR 10-15. 44 The EA summarily concludes that the project would not “substantially change” or

“noticeably affect” the Manhattan CBD study area, AR 29 at 5B-17, a conclusion plainly counter

to the evidence before the agency of extensive changes to driving behavior, traffic patterns, and

economic activity. Such “a bare conclusion without explanation as to the significance of an

impact” is impermissible under the hard look standard of NEPA and should be declared unlawful.

Sierra Club v. Mainella, 459 F. Supp. 2d 76, 108 (D.D.C. 2006). The FHWA readily could have

more closely studied the air quality, traffic congestion, and financial impact of Congestion Pricing

for Battery Park City, and certainly under the higher volume tolling scenarios. Battery Park City

is a community already burdened with post 9/11 air pollution and severe health consequences. As

the EPA stressed, the EA is sorely lacking cumulative data surrounding disproportionate air quality

impacts and the fact that “some costs [will be] falling disproportionately on overburdened


44
  In any event, as set forth in Section II.E, infra, none of the analysis considered the actual tolling structure adopted
by the MTA.

                                                           30
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 37 of 62




communities.” AR 20 at 18C-467, 18C-471. Its failure to address these issues through the

improper expedient of lumping severely impacted neighborhoods in with the Manhattan CBD as

a whole (e.g., Battery Park City, Chinatown, the Lower East Side) was arbitrary and capricious.

See Nat’l Audubon Soc’y v. Dep’t of Navy, 422 F.3d 174, 194 (4th Cir. 2005) (“An agency’s hard

look should include neither researching in a cursory manner nor sweeping negative evidence under

the rug.”).

        B.     The EA And FONSI Failed To Consider Adverse Impacts On Communities
               With Environmental Justice Concerns

        FHWA not only failed to take a hard look at significant impacts on Battery Park City; it

failed to sufficiently study Congestion Pricing’s inevitable impact on the most economically and

environmentally vulnerable communities in New York. NEPA requires more.

        Because environmental pollution typically has a disparate impact on low-income and

minority populations, Executive Order 14008 directs that all agencies “shall make achieving

environmental justice part of their mission” and provides that agencies shall attempt to “secure

environmental justice and spur economic opportunity to disadvantaged communities that have

been historically marginalized and overburdened by pollution.” Exec. Order No. 14,008, 3 C.F.R.

489 (2021) (order amended 2022). A recent Executive Order builds on the requirements set out in

Executive Order 12898, mandating that agencies “to the greatest extent practicable and permitted

by law . . . identify[] and address[] . . . disproportionately high and adverse human health or

environmental effects of its programs, policies, and activities on minority populations and low-

income populations . . . .” Exec. Order No. 12,898, 3 C.F.R. 859 (1994) (order amended 2022).

        The requirements apply to actions of the FHWA, an agency that has issued its own

environmental justice guidance, specifically for the agency’s NEPA environmental review




                                               31
             Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 38 of 62




process. To ensure that “environmental justice concerns are effectively identified and addressed” 45

during the NEPA process, agencies “should seek input from [environmental justice communities]

as early in the process as information becomes available,” 46 and consider the “composition of the

affected area” and “relevant public health data and industry data concerning the potential for

multiple or cumulative exposure.” 47 NEPA guidelines emphasize that “[m]itigation measures . . .

should, whenever feasible, address significant and adverse environmental effects of proposed

federal actions on minority populations, low-income populations, and Indian tribes.” 48

            Courts recognize the importance of taking a particularly “hard look” at the impact of federal

action on environmental justice communities. Under NEPA, the “purpose of an environmental

justice analysis is to determine whether a project will have a disproportionately adverse effect” on

environmental justice communities. Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 255

F. Supp. 3d 101, 140 (D.D.C. 2017) (citing Mid States Coal. for Progress v. Surface Transp. Bd.,

345 F.3d 520, 541 (8th Cir. 2003). An agency must “consider how the incremental effects of the

project might compound . . . preexisting environmental concerns.” O’Reilly v. All State Financial

Co., No. 22-30608, 2023 WL 6635070, at *7 (5th Cir. Oct. 12, 2023). NEPA analysis of

environmental justice communities cannot be “cursory” or “bare bones,” it cannot “fail to consider

an important part of the problem,” Motor Vehicle Mfrs. Ass’n v. of U.S., Inc., 463 at 43, and the

agency must establish a connection between the facts found with respect to these communities and

the decision ultimately made. Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6

F.4th 1321, 1330 (D.C. Cir. 2021).


45
   Env’t Justice: Guidance Under the National Env’t Policy Act, Council on Env’t Quality, at 1 (Dec. 10, 1997),
https://www.epa.gov/sites/default/files/2015-02/documents/ej_guidance_nepa_ceq1297.pdf.
46
     Id. at 11.
47
     Id. at 9.
48
     Id. at 4.

                                                      32
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 39 of 62




        Plaintiffs live in economic justice communities in the Lower East Side of Manhattan and

Chinatown, where in certain areas, such as Community District 3, approximately 24% of all

residents and one-third of children and seniors live below the poverty line. 49 Nearly 50% of

households in the area are rent-burdened (paying more than 30% of their income for housing) and

many have difficulty affording food, clothing, transportation and health care. 50 Air pollution is a

significant environmental threat, as air pollutants in this area are among the highest in New York

City. 51 Pollutants such as PM2.5, NO2, NO, and BC are of particular areas of concern because they

are highest in areas in close proximity to traffic thoroughfares, like the FDR Drive. 52 The

economic justice communities on the Lower East Side are far from public transit, with at least 15%

of all residents living more than half a mile from a subway stop.

        Other environmental justice communities share similar issues and stand to suffer

considerably under Congestion Pricing. As the EPA noted in its comments to the EA, Bronx,

Richmond, and Bergen counties are all already heavily overburdened with traffic and unsafe

environmental conditions that create public health issues that will be significantly exacerbated by

Congestion Pricing. AR 20 at 18C-467 to 472; see also AR 18 at 17D-25. In fact, the counties

rank above the 95 percentiles in PM2.5 pollution, diesel PM pollution, air toxics cancer risk, air

toxic respiratory hazard risk, and proximity to traffic. AR 20 at 18C-471. Significant health




49
  Statements of Community District Needs and Community Board Budget Requests: Manhattan Cmty. Dist. 3 at 10,
14, 21 (Nov. 2023), https://www.nyc.gov/assets/manhattancb3/downloads/pdf/FY25_MN03_Preliminary.pdf.
50
  Community Health Profiles 2018, NYC Health, “Lower East Side and Chinatown: Manhattan Cmty. Dist. 3 at 7
(2018), https://www.nyc.gov/assets/doh/downloads/pdf/data/2018chp-mn3.pdf.
51
   New York City Cmty. Air Survey (NYCCAS) - Neighborhood Air Quality 2008-2018, Appendix 3, https://a816-
dohbesp.nyc.gov/IndicatorPublic/key-topics/airquality/nyccas/Appendix3.pdf (Lower East Side and Chinatown
(CD3)) (last visited Mar. 12, 2024).
52
   See NYCCAS - Neighborhood Air Quality 2008-2021, https://a816-dohbesp.nyc.gov/IndicatorPublic/key-
topics/airquality/nyccas/ (last visited Mar. 12, 2024).

                                                    33
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 40 of 62




disparities, including asthma rates and hospitalization, are among the highest in the City in these

communities, who stand to be the most impacted by traffic diversion from Congestion Pricing.

               1.      FHWA’s Flawed Methodological Choices For Analyzing
                       Environmental Justice Communities Were Arbitrary And Capricious

       The Draft EA’s analysis of environmental justice communities was flawed from

conception. Rather than using precise mapping tools to identify particularly impacted areas, such

as the Mayor’s Office of Environmental Justice map (a map developed by the City’s

Environmental Justice Advisory Board studying environmental justice), or data that identifies

geographic areas within New York with high levels of existing pollution and associated health

risks, Defendants used ill-fitting federal census data from 2015-2019 to identify low-income and

minority populations in New York City. See AR 29 at 17-3. The FHWA limited its environmental

justice assessment to communities in which (1) at least 50% of the census tract’s population

identified as a racial minority, or the percentage of residents identifying as a racial minority

exceeded the minority share in the county; and (2) the percentage of individuals with household

incomes up to twice the federal poverty threshold was higher than the percentage for the 28-county

region. AR 29 at 17-8. That definition unjustifiably and unreasonably excluded numerous census

block groups with existing health issues, including environmental justice communities in north

Staten Island and parts of the Lower East Side, that will experience significant increases in traffic

volumes, with already extremely high rates of pollution and pollution related health issues. See

AR 18 at 17D-25; AR 29 at 10-23.

       Even if the initial method of identifying environmental justice communities by income and

minority status alone was sound—and it was not—the EA unreasonably analyzes environmental

justice communities, in its “Local Study Area,” on a county-wide basis, a wholly inadequate way

to review the precise impact of Congestion Pricing. The EA analyzes 10 counties in its Local Area


                                                 34
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 41 of 62




Study—Bronx, Kings, New York, Queens, Richmond, Nassau, Bergen, Essex, Hudson, and Union

Counties. AR 29 at 17-5. But New York County, for example, encompasses the entire borough

of Manhattan, and has exceedingly diverse population and geography. The impact of Congestion

Pricing on individuals or businesses in midtown Manhattan is vastly different than the impact

Congestion Pricing would have on individuals living in subsidized housing along the FDR Drive.

Yet, when analyzing the effects of CBD tolling on economic justice communities, the EA

concludes that New York County will see a decrease in all pollutants. Id. at 17-30. The aggregate

analysis, however, masks the particular cumulative impact on already burdened environmental

justice neighborhoods within the county and makes it difficult for residents of well-established

neighborhoods to understand how the analysis applies to them.          Perhaps recognizing the

deficiency, the EA referenced more detailed analysis for four highway segments near

environmental justice neighborhoods. See Id. at 17-31. But the review of four highway segments

in all of New York City cannot substitute for the “hard look” necessary to ensure that

environmental justice communities are not adversely and disproportionately impacted.

       Vecinos Para el Bienestar de la Communidad Costera v. FERC (“Vecinos”), 6 F.4th 1321

(D.C. Cir. 2021), illustrates the need for appropriate parameters to closely analyze impacted

environmental justice communities. There, petitioners brought suit challenging a decision by the

Federal Energy Commission (“FERC”) to authorize the construction and operation of three

liquified gas expert terminals on the shores of a channel in Cameron County, Texas. Petitioners

argued that FERC’s environmental justice analysis of the project’s impact failed NEPA

requirements because it only analyzed the project’s impact on qualifying census blocks within two

miles of the project site. The court agreed that the chosen parameters of the economic justice

analysis were “arbitrary and capricious,” particularly because elsewhere in the analysis FERC had



                                               35
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 42 of 62




determined that air quality would be negatively impacted by the project as far as 31 miles away.

Id. at 1331. The agency was required to take a harder look at the disproportionate impact on more

environmental justice communities.

           As in Vecinos, in light of FHWA’s conclusion that the air quality in particular communities

in Staten Island, Bergen County, the Bronx, and the Lower East Side would be significantly

adversely impacted by Congestion Pricing, a closer look, more specific than a county-wide

analysis, was required into the environmental justice neighborhoods. An EIS, rather than an EA,

would have provided the needed comprehensive study, as recent examples in New York make

clear. In the EIS performed for the East Coast Resiliency Project, the environmental justice

analysis considered—first on a census tract and then on a block-by-block basis—how the project

would impact environmental justice communities. 53 In the area of Lower Manhattan, the phased

study closely reviewed the neighborhoods of the East Village, Chinatown, the Lower East Side,

and residential developments such as Stuyvesant Town, Peter Cooper Village, Co-Op Village, and

27 New York City Housing Authority (“NYCHA”) developments. 54 Community outreach during

the development of the EIS allowed for a Community Engagement Plan to inform interested parties

and seek input on a wide range of issues. 55              And the EIS identified adverse effects from

construction at specific intersections, noise pollution at specific blocks and even buildings, and

adverse effects to urban design from levees blocking the view of certain NYCHA developments. 56




53
        EIS,     E.     Side    Costal    Resiliency   Project,   Chapter     5.11,    “Env’t       Justice,”
https://www.nyc.gov/assets/escr/downloads/pdf/DEIS/ESCR-EIS-Chapter-5_11-Environmental-Justice.pdf.      (last
visited Mar. 12, 2024).
54
     Id.
55
     Id.
56
     Id.

                                                     36
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 43 of 62




       Contrast that with the EA analysis here, where ill-fitting tables regarding travel modes in

Manhattan, demographics, and income levels on a region-wide and county-wide basis pervade the

EA analysis. But the study of 10 counties neglected to include a localized assessment of air quality

impacts on communities with environmental justice concerns. Id. Instead, FHWA only assessed

potential truck and non-truck highway traffic increases in a subset of environmental justice

communities. The entire structure of Congestion Pricing is to effectively drive traffic to the

exempted roadways, like those bordering Battery Park City and abutting the Lower East Side. The

“reduction” in pollution in the Manhattan CBD as a whole is accomplished expressly by

concentrating the pollution in communities, many of which are environmental justice

communities, surrounding the exempted roadways throughout the City. The failure to examine

these specific areas and the inadequacy of this environmental justice review, as a whole, failed to

satisfy the “hard look standard.” See Standing Rock Sioux Tribe, 255 F. Supp. 3d at 137-38

(gerrymandered geographic analysis of economic justice communities required vacatur).

               2.      The EA And FONSI Ignore The Adverse Impact Of Congestion
                       Pricing On Battery Park City And Environment Justice Communities

       Even with this superficial look at vulnerable populations, the environmental justice section

of the Draft EA concludes that there will be “potential adverse effect to environmental justice

populations as a result of traffic diversions in communities already potentially vulnerable due to

pre-existing air pollution and chronic diseases.” AR 29 at 17-61. It recognizes that 50% of

environmental justice communities would experience increases in truck traffic that “would not be

completely alleviated by the overall beneficial effects of the Project.” Id. at ES-19. Under

Congestion Pricing, all six air pollutants—volatile organic compound (VOC), nitrogen oxides

(NOx), carbon monoxide (CO), particular matter (PM10), particular matter (PM2.5), and carbon

dioxide equivalents (CO2e)—and all nine mobile source air toxics (MSATs) will immediately


                                                37
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 44 of 62




increase in Bronx County, Staten Island, Nassau County, and Bergen County. Id. at 10-23, 10-37.

Indeed, the EA concluded that Congestion Pricing would potentially result in disproportionately

high and adverse effects on environmental justice populations: (1) a potential adverse effect from

increased air pollution due to traffic increases near communities already overburdened by pre-

existing air pollution and chronic diseases, relative to national percentile; and (2) a potential

adverse effect on minority and low-income drivers. 57 Id. at 17-63.

        California v. Bernhardt, 472 F.Supp.3d 573 (N.D. Cal. 2020), is instructive. There, the

Bureau of Land Management’s (“BLM”) EA acknowledged increases in specific types of

emissions and air quality consequences to economic justice communities that would harm public

health, resulting from BLM’s partial rescission of a rule governing prevention of methane in oil

and gas lessee operations. Yet, despite the acknowledgement and record evidence of pollution,

BLM conducted no further or specific localized analysis of the potential problem and promised to

further analyze environmental impact a later stage. Id. at 622. The court held that BLM could not

“discount the localized impacts to people for whom public health impacts are of clear

significance,” id., and that delaying the analysis until later stages, put the “proverbial cart before

the horse,” id. at 620. The court determined that BLM had not satisfied a “hard look” of the

environmental justice communities in the EA and erred in not preparing an EIS.

        As in Bernhardt, FHWA has found significant air quality and public health impacts that

would result from Congestion Pricing to areas likely to experience traffic diversions. Defendants

cannot discount the impact on these communities, like the Lower East Side and the outer-boroughs




57
  A recent study by the Community Service Society found that approximately 20% of New Yorkers struggle to afford
mass transit. Notably, 30% of low-income New Yorkers reported that “they often struggled to pay subway or bus
fares.” Press Release, CSS Report: New Yorkers Struggle to Afford Mass Transit; Expanding Fair Fares Can Help
(Mar.    14,    2024),    https://www.cssny.org/news/entry/css-report-new-yorkers-struggle-to-afford-mass-transit-
expanding-fair-fares. Imagine, then, the impact of a $15 toll on similarly situated New Yorkers.

                                                       38
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 45 of 62




in which environmental public health is of clear significance. Defendants have not satisfied the

“hard look” in the EA and an EIS is required.

         Indeed, the EPA found the Draft EA’s analysis of environmental justice communities

insufficient. In its comments to the FHWA, the EPA indicated that it could not confirm that an

EIS was not necessary “[d]ue to the insufficiency of data in the Draft EA around localized and

disproportionate air quality impacts.” AR 20 at 18C-467. Where traffic would “likely worsen”

under Congestion Pricing, the “EPA recommend[ed] that the analysis of the areas be improved,

especially given the environmental justice concerns and cumulative impacts to the affected

communities.” Id. The Draft EA (i) used outdated statistics and models (that did not reflect the

impact of the COVID-19 pandemic, despite such data being available); 58 (ii) did not identify the

disproportionate impact of traffic diversions to roadways with environmental justice concerns and

its impact on air quality; (iii) failed to identify adverse economic and environmental impacts of

each scenario to economic justice communities; and (iv) failed to analyze the cumulative impacts

of Congestion Pricing throughout the EA. The EPA recognized that “air quality evaluation was

only conducted at a county level” and that a closer look was required because “all tolling scenarios

suggest a potential increase in vehicle and truck traffic” in many economic justice areas. Id., 18C-

470. The EPA also recommended that the Project Sponsors consider comparative air quality

impacts on existing health disparities in these communities and recognized that given the existing

toxic air pollutant levels and information from environmental justice data, the impacts may be



58
  At various points in the EA, the FHWA asserts that pre-pandemic data was used because traffic is returning to pre-
pandemic levels, despite the fact that mass transit remains roughly 35 to 45% lower than pre-COVID pandemic levels.
AR 1-13. First, even if true, it is hard to imagine how this unnuanced look at aggregate traffic data can fully digest
the impact of the pandemic. It seems evident, for example, that the time and day of travel has shifted in the post-
pandemic work week (far fewer workers commuting on Mondays and Fridays). And if the ridership on mass transit
has been reduced by 45%, the $15 billion figure that was once necessary for MTA capital projects in 2019 may have
changed. In sum, more study is needed.

                                                         39
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 46 of 62




disproportionate. Id. at 18C-471. At bottom, while the Project Sponsors described the benefits of

Congestion Pricing as outweighing the impacts, the “benefits and costs are unevenly distributed,

with some costs falling disproportionately on overburdened communities.” Id.

       Very little changed from the Draft EA to the EA released to the public 10 months later.

AR 29 at 0-2 to 0-4 (listing changes and stating that “[m]ost of the text in the Final EA remains

unchanged from the August 2022 EA”). A “Technical Memorandum” was included in the August

2023 EA that purports to address additional considerations for environmental communities with

existing health burdens. Id. at 0-3. But while more precise maps were included from the EJ

Screening and Mapping Tool (tools that should have been utilized from the start) and information

about air pollutants’ general impact on health and additional health data was gathered (largely still

on a county-wide basis), Defendants failed to conduct the more specific air quality and closer look

at economic justice communities and traffic diversion areas. Nor was the Technical Memorandum

subject to public review and comment. While the EPA may have corresponded privately, outside

public review, with the Project Sponsors, and “acknowledge[d] the improvements . . . specifically

to address potential impacts of the proposed action on communities with environmental justice

concerns,” AR 1229, the communication can neither obscure nor cure the dispositive fact that the

EA failed to sufficiently treat the detailed concerns found in the initial EPA assessment. AR 20 at

18C-469 to 18C-472. The same outdated, pre-COVID statistics and models were used, no closer

analysis was performed of all potential economic and environmental impacts on low-income and

minority communities, and no comparative analysis was performed between the general

population and minority communities to measure disproportionate impact. Even if it was an

“improvement” on the inadequate Draft EA, the EA still does satisfy NEPA’s environmental

justice requirements.



                                                 40
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 47 of 62




       C.      The EA And FONSI Failed To Sufficiently Identify And Analyze Reasonable
               Alternatives To Congestion Pricing

       Beyond the necessary analysis of Battery Park City and economic justice communities, the

EA was insufficient because it failed to consider credible and realistic options short of the

draconian toll ultimately imposed. The EA and FONSI should be held unlawful as arbitrary and

capricious because the FHWA failed to identify and analyze reasonable alternatives to the

Congestion Pricing scheme.

       To sufficiently articulate why it has settled on a particular course of action, NEPA

mandates that the agency “consider and discuss the range of all reasonable alternatives to the

proposed action, to ‘provid[e] a clear basis for choice among options by the decisionmaker and the

public.’” Klamath-Siskiyou Wildlands Ctr. v. U.S. Forest Serv., 373 F. Supp. 2d 1069, 1088 (E.D.

Cal. 2004). When evaluating alternatives to a proposed action, an agency must consider three

questions: “First, what is the purpose of the proposed project? Second, given that purpose, what

are the reasonable alternatives to the project? And third, to what extent should the agency explore

each particular alternative?” Habitat Educ. Ctr., Inc. v. U.S. Forest Serv., 603 F. Supp. 2d 1176,

1184 (E.D. Wis. 2009) (citing Simmons v. U.S. Army Corps of Eng’rs, 120 F.3d 664, 668 (7th Cir.

1997)). In undertaking this analysis, “[n]o decision is more important than delimiting what these

‘reasonable alternatives’ are.” Simmons, 120 F.3d at 666.

       The lack of discussion and analysis of alternatives to the Congestion Pricing scheme render

the FHWA’s action arbitrary and capricious for two key reasons: (1) the FHWA only identified

patently unreasonable alternative options that were intended to fail; and (2) the limited alternatives

that were identified were not sufficiently analyzed.

       As part of their NEPA review process, the FHWA and the Project Sponsors defined the

Project purpose to “reduce traffic congestion in the Manhattan CBD in a manner that will generate


                                                 41
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 48 of 62




revenue for future transportation improvements, pursuant to acceptance into FHWA’s VPPP.” AR

29 at 1-10. To further refine the Project purpose, the FHWA also defined the following three

project objectives: (1) to reduce daily VMT within the CBD by at least 5%; (2) to reduce the

number of vehicles entering the CBD daily by at least 10%; and, critically, (3) to generate sufficient

annual net revenues to fund $15 billion for capital projects for the MTA Capital Program. Id. at

2-5. As part of the mandatory alternatives screening evaluation, if the FHWA determined that a

preliminary alternative would not meet one or more of the three identified objectives used for

screening, the FHWA summarily “dismissed that alternative from further consideration as an

alternative that is not reasonable.” Id. Further violative of NEPA requirements was the failure to

consider whether a combination of alternatives could meet the project goals.

        “One obvious way for an agency to slip past the strictures of NEPA is to contrive a purpose

so slender as to define competing ‘reasonable alternatives’ out of consideration (and even out of

existence),” precisely what occurred here. Simmons, 120 F.3d at 666. Of the eleven alternatives

to Congestion Pricing considered, several alternatives meet the criteria of Objectives 1 and 2, but,

as seen in the EA’s Table 2-2 (Results of Preliminary Alternatives Screening) copied below, all

fail to meet the criteria of Objective 3, generating $15 billion in revenue. See AR 29 at 2-7.

Therefore, FHWA dismissed from further consideration all eleven remaining options.




                                                 42
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 49 of 62




Options such as “mandatory carpooling,” “creating incentives for teleworking” and rationing

license plates (perhaps for share-ride vehicles)—often discussed as a way to reduce congestion—

stood little chance of raising revenue for the MTA. While “[a]n agency is under no obligation to

consider every possible alternative to a proposed action,” Seattle Audubon Soc. v. Moseley, 80

F.3d 1401, 1404 (9th Cir. 1996), the FHWA only considered alternatives unlikely to be

implemented because they would not raise billions of dollars in revenue, itself not an

environmental goal. Therefore, the agency failed to analyze any reasonable alternatives.

       Of the limited alternative options that the agency put forward, it quickly dismissed them

with little to no explanation. A series of footnotes listed below Table 2-2 with no analysis and

containing studies from 2007 and 2008 is the sum total of the analysis. See AR 29 at 2-7. As seen

above, several of the alternatives listed did not include any note explaining why the option was

dismissed, such as O-4 (Ration license plates) and O-5 (Mandatory carpooling). Id. Many of the

notes that were given did not provide any meaningful analysis for dismissing them, such as T-3

(High-occupancy toll (HOT) lanes), which was reduced to a single sentence citing no data: “HOT

Lanes can be effective revenue generators, but their ability to reduce congestion and raise enough

revenue to meet the target is limited due to the availability of free lanes on the same highway.” Id.

       Even with the objective of revenue generation in mind, Plaintiffs can readily identify two

reasonable alternative tolling options that would meet the purpose and objectives identified above.

First, the agency could have considered a phased-in implementation of Congestion Pricing, where

certain vehicles are tolled first for a defined period of time. Such implementation of a scaled-back

initial program, made all the more plausible by recent estimates of far greater than $1 billion to be

raised in the first year, supra note 7, would allow Defendants to make improvements to transit

capacity and reliability before asking commuters to abandon their cars and would allow for more



                                                 43
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 50 of 62




effective study and monitoring in real-time. The improvements would lead to greater behavior

changes, leading to less congestion.

         Second, FHWA could have considered a dynamic tolling structure. To borrow from the

DOT’s own explanation of this system:

         With dynamic pricing, tolls are continually adjusted according to traffic conditions
         to maintain a free-flowing level of traffic. Under this system, prices increase when
         the tolled lane(s) get relatively full and decrease when the tolled lane(s) get less
         full. The current price is displayed on electronic signs prior to the beginning of the
         tolled section. This system is more complex and less predictable than using a fixed-
         price table, but its flexibility helps to consistently maintain the optimal traffic flow.
         Motorists are usually guaranteed that they will not be charged more than a pre-set
         maximum price under any circumstances. 59

         FHWA is familiar with this alternative, as dynamic tolling schemes are active throughout

the United States. 60 Variable and dynamic pricing was also urged by the Fix NYC Advisory Panel

Report as part of its proposed phased approach to implementing congestion pricing, “in order to

maximize congestion reduction.” 61

         Both of these alternative options have the potential to reduce daily VMT within the CBD

by at least 5%, to reduce the number of vehicles entering the CBD daily by at least 10%, and to

generate sufficient significant revenue for capital projects for the MTA. Nevertheless, the FHWA

“failed to consider an alternative that was more consistent with its basic policy objectives than the

alternatives that were the subject of final consideration.” Muckleshoot Indian Tribe v. U.S. Forest

Serv., 177 F.3d 800, 813 (9th Cir. 1999).



59
  U.S. Department of Transportation, Federal Highway Administration, Congestion Pricing — A Primer: Overview,
available at: https://ops.fhwa.dot.gov/publications/fhwahop08039/cp_prim1_08.htm#faq2 (last visited Mar. 8, 2024).
60
   See, e.g., Bart Jansen, ‘Dynamic tolls’: How highways can charge $40 for driving just 10 miles, USA Today, Dec.
8, 2017: https://www.usatoday.com/story/news/2017/12/07/states-governments-increasingly-turn-tolls-manage-
highway-traffic-jams/930900001/.
61
  See HNTB, Fix NYC Advisory Panel Rep., supra n. 2, at 6. Dynamic pricing is defined by the Report as “A pricing
system where rates are continually adjusted according to traffic conditions to maintain a free-flowing level of traffic.
Rates are determined in real-time throughout the day.” Id. at 5.

                                                          44
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 51 of 62




       D.      The Final EA And FONSI’s Proposed Mitigation Measures Are Wholly
               Inadequate And Were Not Sufficiently Analyzed

       The FHWA acknowledges that Congestion Pricing will have a potentially significant

adverse impact on certain areas of New York City and its surrounding communities and therefore

found it necessary to include mitigation measures. Where, as here, a project will have significant

environmental impact, reliance upon mitigation measures may eliminate the need to prepare an

EIS, but “only if the agency finds that the changes or safeguards in the project sufficiently reduce

the [significant] impact to a minimum.” Town of Cave Creek, 325 F.3d at 327 (citations omitted).

In decisional agency documents, while “proposed mitigation measures need not be laid out in the

finest detail” the measures may not be predicated on “mere perfunctory or conclusory language.”

O’Reilly v. U.S. Army Corps of Eng’rs, 477 F.3d 225, 231 (5th Cir. 2007). The simple labeling of

mitigation items does not create a sufficient record to support an agency’s decision not to prepare

an EIS. Id. (citing Citizen Advocates for Responsible Expansion, Inc. (I-Care) v. Dole, 770 F.2d

423, 434 (5th Cir. 1985). Instead, the agency must “sufficiently demonstrate [that] the mitigation

measures adequately address and remediate the adverse impacts so that they will not significantly

affect the environment.” Id. at 234. A FONSI’s reliance on mitigation is justified only when there

are adequate assurances that the mitigation measures will be successful and “constitute an adequate

buffer against the impacts that result from the authorized activity to render such impacts so minor

as to not warrant an EIS.” Wetlands Action Network v. U.S. Army Corps. Of Eng’rs, 222 F.3d

1105, 1121 (9th Cir. 2000). Mitigation must be supported by sufficient evidence, such as studies

by the agency. Id.

       O’Reilly v. U.S. Army Corps of Engineers, supra, is illustrative. There, the U.S. Army

Corps of Engineers prepared an EA and a FONSI for a dredging and filling of wetlands in

Louisiana and determined that, in light of the proposed mitigation measures, the project would


                                                45
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 52 of 62




have no significant impact on the environment. While the project was predicted to have adverse

long-term impacts on project soil, reducing its flood control function, the agency incorporated a

drainage plan into the development site, including a “vegetated buffer zone for flood water

storage” and then asserted “without data or analysis” that the project as mitigated would have

minimal impact on flooding. Id. at 232. The Fifth Circuit found the description of the mitigation

measures insufficient. While the court recognized that an EA was meant to be a ‘rough-cut, low

budget” preliminary look at the impact of a project, the agency still needed to conduct a “serious

and thorough” evaluation of mitigation options. Id. at 231, 234. But the EA “fail[ed] to

sufficiently demonstrate that the mitigation measures adequately address and remediate the

adverse impacts” because it simply “list[ed] the potentially significant adverse impacts” and

“provide[d] only cursory detail as to what those measure are and how they serve to reduce those

impacts to a less-than significant level.” Id. at 234.

       The similarities here (including a similar mitigation measure centered on vegetation) are

self-evident. The FONSI simply lists a few mitigation measures without any analysis as to how

these measures will reduce the impact on Plaintiffs and the rest of New York. AR 361 at 15; see

also San Luis Valley Ecosys. Council v. U.S. Fish & Wildlife Serv., 657 F. Supp. 2d 1233, 1245-

46 (D. Colo. 2009) (finding FONSI arbitrary and capricious where “significant mitigation

measures . . . were not even developed, much less evaluated” and it was “unclear from the record

whether the agency really evaluated the efficacy of the proposed mitigation”). Mitigation was not

included in the Draft EA and was only included after the outpouring of criticism, including from

the EPA, on the likely impact of Congestion Pricing on certain communities in New York,

including environmental justice communities. Months after the comment period for the Draft EA

had closed, the FHWA and MTA presented a hodgepodge of mitigation measures, never subject



                                                 46
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 53 of 62




to public scrutiny, totaling $155 million over five years. AR 361 at 15. A listing or a perfunctory

description of mitigation measure is not enough in a FONSI. See League Wildness Defs./Blue

Mtns. Biodiversity Proj. v. Forsgren, 309 F.3d 1181, 1192 (9th Cir. 2002); Neighbors of Cuddy

Mtn. v. U.S. Forest Serv., 137 F.3d 1372, 1380 (9th Cir. 1998). Yet despite the MTA’s public

emphasis on extensive analysis and lengthy EA, the mitigation measures can be found in the

FONSI in one concise list with barebones descriptions.




       Other than a description of how trucks are particularly impactful on the environment and a

brief suggestion that the “regional mitigation” may decrease some truck traffic, little to no analysis

was done of the mitigation measures that, according to the FHWA and MTA, will minimize the

adverse impacts of Congestion Pricing to such an extent that it no longer has a significant impact

on the quality of human environment. AR 361 at 15. Not only did the Project Sponsors fail to

demonstrate any analysis of the mitigation measures, the public was similarly deprived of that

opportunity. Plaintiffs and other stakeholders had no opportunity to evaluate whether potential

mitigation measures would or could actually mitigate the potential adverse effects identified in the

EA. N.M. ex rel. Richardson v. Bureau of Land Mgm’t, 565 F.3d 683, 708 (10th Cir. 2009) (“A

public comment period is beneficial only to the extent the public has meaningful information on

which to comment.”).


                                                 47
       Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 54 of 62




       In fact, all but two of the “place-based” mitigation measures do not have a “place.” The

FONSI leaves that for after the tolling structure is established to create a process for implementing

the location of these measures. Id. The recommended implementation of electric truck charging

infrastructure, renovation of parks and greenspace in environmental justice communities, and the

installation of air filtration units in schools near highways have no specific time, place or manner

in which they will be implemented.        Putting aside, for example, how increasing roadside

vegetation to improve near-road air quality by using $10 million over five years would mitigate

the significant impact of the first Congestion Pricing program in our nation’s history, there is

absolutely no detail given as to where or when this mitigation will occur or how much can

reasonably be installed and maintained for such sum. Leaving undeveloped and inadequately

reviewed mitigation measures for after the EA and FONSI period turns NEPA on its head and

neuters the requirement that the mitigation analysis and its impact on agency action be serious and

thorough. The Project Sponsors simply had no basis for determining that the mitigation measures

would reduce the significant impacts “so minor as to not warrant an EIS,” Wetlands Action

Network, 222 F.3d at 1121, rendering the EA and FONSI arbitrary and capricious.

       E.      The EA And FONSI Must Be Vacated Because They Did Not Analyze The
               Actual Congestion Pricing Tolling Structure

       The EA and FONSI should be set aside because they did not analyze the actual tolling

structure that the TBTA will adopt based on the TMRB’s recommendation and left for a further

“re-evaluation”—outside the EA or EIS process—necessary components of the plan. Under

NEPA, an agency must analyze the direct, indirect, and cumulative impacts of an actual plan so

that it can determine whether the action would significantly affect the quality of the human

environment. 40 C.F.R. § 1508.1(g); 42 U.S.C. § 4332(2)(C). Agency action is arbitrary and

capricious when the decision does not include “a consideration of the relevant factors.” Magellan


                                                 48
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 55 of 62




Tech., Inc. v. USDA, 70 F.4th 622, 630-31 (2d Cir. 2023) (quoting Motor Vehicle Mfrs. Ass'n of

U.S., Inc., 463 U.S. at 43). The agency decision here was deficient, for it was not based on a

proposed plan, but on a hypothetical series of potential plans, none of which came to fruition. See

California. v. Block, 690 F.2d 753, 770 (9th Cir.1982) (NEPA does not allow an agency to wait

until after a final EIS to announce the proposed action it intends to adopt).

       The Executive Summary of the EA makes clear that the “most important factor in the

magnitude and distribution of effects from the Project is the toll rate.” AR 29 at ES-13. Yet that

factor was not part of the analysis. The FHWA concluded that the tolling scenarios analyzed in

the EA “will have no significant impact on the human or natural environment,” despite none of

them being chosen for the Congestion Pricing plan. AR 361 at DOT_0000363. Instead, the TMRB

settled on an entirely new, unstudied scenario defining a new toll price, peak hours, bridge crossing

credits and exemptions, discounts to low-income individuals, and toll structure for taxis and for-

hire vehicles. In the EA and FONSI, the FHWA and Project Sponsors entirely failed to consider

many factors that would have direct, indirect, and cumulative impacts, including (i) a $15 toll on

passenger vehicles; (ii) two additional hours of peak tolling each day; (iii) a $5 crossing credit on

particular crossings while providing no crossing credit to those traveling on other routes; (iv) a

50% discount to low-income drivers after the first ten trips in a calendar month; and (v) taxis and

for-hire vehicles charging passengers a $1.25 and $2.50 toll “per trip.” AR 29 at ES-12.

       These are not “small details” to be determined later.          They make up the primary

components of the Project—components that will drive behavior. As just one example, extending

the peak toll by two additional hours, not analyzed in the EA, amounts to some 520 additional

hours of tolling per year. This will affect approximately 60,000 vehicles entering the CBD each

weekday. TMRB Recommendation at 19. In total, the change will affect 15.6 million cars in a



                                                 49
           Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 56 of 62




given year, 62 not including the 104 hours of added peak tolls on weekends. Neither the EA or

FONSI studied the environmental effects associated with millions of additional vehicles being

diverted each year. Moreover, critical bridge-crossing credits, such as credits at the George

Washington and the Verrazano-Narrows Bridge were not included, impacting thousands of

commuters and undoubtedly impacting traffic patterns. The combination of all of these changes

render the previous analysis contained in the EA and FONSI inadequate. See W. N. Carolina All.

v. N. Carolina Dep't of Transp., 312 F. Supp. 2d 765, 773 (E.D.N.C. 2003) (agency acted

arbitrarily and capriciously in issuing its EA and FONSI because it did not assess or acknowledge

the potential for projects’ cumulative impacts); Native Ecosys. Council v. Judice, No. CV 18-55-

BLG-SPW, 2019 WL 1131231, at *8 (D. Mont. Mar. 12, 2019) (same). The EA contemplated

that TBTA could “adopt[] a toll schedule structure that has substantially different attributes from

those examined in this EA” and that if that happened, the Project Sponsors would “identify a course

of action to assess and document the changes in accordance with NEPA prior to implementation

of the project.” AR 29 at 2-29. That the FHWA left open the possibility that there could a

congestion pricing scheme “substantially different” than the hypothetical scenarios in the EA

underscores that FHWA did not take a “hard look.” See, e.g., Protect Key West, Inc. v. Cheney,

795 F. Supp. 1552, 1564, 1569-70 (S.D. Fla. 1992) (enjoining project because the agency failed to

review environmental consequence of the actual project in the EA).

           F.       Defendants’ Failure To Provide Adequate Participation Renders The EA
                    And FONSI Arbitrary And Capricious

           NEPA requires federal agencies to meaningfully consult with the public throughout the

review process. 40 C.F.R. § 1506.6; Robertson, 490 U.S. at 349 (one major purpose of preparing




62
     This figure is based on multiplying 60,000 vehicles by 260 weekdays in a year.

                                                          50
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 57 of 62




agency reports is to guarantee that the public may “play a role in both the decision-making process

and the implementation of that decision”). The process to comment on the EA and FONSI was

inadequate, rendering them arbitrary and capricious.

         First, the Project Sponsors provided only a measly 44 days to comment on the highly

complex 868-page Draft EA. As an initial matter, under 40 C.F.R. § 1501.5(f), an EA cannot span

more than 75 pages without written approval by a senior agency official. Although there is no set

minimum number of days required to comment on a draft EA, the public must be given sufficient

opportunity to comment. Anderson v. Evans, 371 F.3d 475, 487 (9th Cir. 2004) (citing 40 C.F.R

§§ 1503.1, 1506.6); see also Hanly v. Kleindienst, 471 F.2d 823, 836 (2d Cir. 1972) (“[B]efore a

preliminary or threshold determination of significance is made the responsible agency must give

notice to the public of the proposed major federal action and an opportunity to submit relevant

facts which might bear upon the agency’s threshold decision.”). As a baseline, agencies are

required to provide a minimum of 45 days to comment on a Draft EIS, which is, on average, more

than 250 pages shorter than Defendants’ Draft EA. 63 40 C.F.R. § 1506.11(d). Here, providing 44

days to review, analyze, and submit a comment letter on this highly-complex 868-page

environmental assessment was insufficient. Defendants were unreasonable in not extending this

comment period further, as requested by many members of the public.

         Second, Defendants were provided but 30 days to comment on the 958-page EA, with

thousands of hard to understand appendices and 41-page FONSI. Plaintiffs, as likely many others,

tried repeatedly to navigate and engage in the NEPA process during this timeframe. See Chan

Decl. ¶ 10. When seeking guidance from elected officials, Plaintiffs were given incorrect advice




63
   See Exec. Off. of the Pres. Council on Env’t. Quality, Length of EIS (2013-2018), June 12, 2020, at 1, available at
https://ceq.doe.gov/docs/nepa-practice/CEQ_EIS_Length_Report_2020-6-12.pdf.

                                                         51
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 58 of 62




on the ability to make a public comment regarding the Draft FONSI and were erroneously told that

“it’s too late to fight congestion pricing.” Id. ¶ 13. Despite the complexity of these procedures

and erroneous information provided, Plaintiffs managed to submit a comment letter to Defendants

within the comment period via both email and certified mail. Id. ¶ 17. Yet, this comment letter

did not appear in the public record and does not seem to have been considered by Defendants. Id.

¶ 24.

        Third, the FONSI specifically contemplates a “re-evaluation” outside of public comment

after the tolling structure is determined. AR 361 at 26. Defendants created a comment period

process that occurred before deciding on the actual Congestion Pricing project, completely

disenfranchising the public by requiring individuals to comment in a vacuum based on hypothetical

scenarios, none of which was ever adopted. As the Ninth Circuit found, “refusing to disclose its

Proposed Action until after all opportunity for comment has passed, an agency insulates its

decision-making from public scrutiny” rendering “NEPA’s procedures meaningless.” Block, 690

F.2d at 771. The public viewpoint could not be adequately represented without being able to

determine whether the Plan would affect them, and if so, to what degree. The fact that the TMRB

recommended a unique tolling structure not otherwise considered in the EA or FONSI—and then

gave the public two minutes per person as part of the TMRB process over a four-day period to

comment—renders these comment periods meaningless. See Dubois v. U.S. Dep’t of Agric., 102

F.3d 1273, 1293 (1st Cir. 1996) (public commenters did not have the opportunity to consider the

“wholly new problems posed by the new” plan); Block, 690 F.2d at 772 (final proposal “differed

substantially . . ., seriously diluting the relevance of public comment on the draft EIS

alternatives”). Nothing in the Traffic Mobility Act required this backwards approach. See

generally N.Y. Veh. & Traf. Law § 1704-a(1).



                                               52
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 59 of 62




III.     The FONSI Should Be Set Aside Pending A Supplemental Environmental Review

         Although FHWA has indicated that it intends to “re-evaluate” the FONSI in light of the

new TMRB recommendation, a more formal, in-depth “hard look”—one with extensive

documentation, environmental studies, and inter-agency coordination—is required. 64 This Court

should declare that a re-evaluation alone—which would not necessarily require any public

involvement or a written report—is insufficient based on the array of changes to the Plan. Instead,

a full supplemental report need be conducted.                  The project scope, impact, and mitigation

requirements have materially changed, and the FHWA cannot simply rubber-stamp the program

in March or April to ensure that it is implemented by the June date that the MTA has publicly

identified.

         An agency must supplement its analysis through a supplemental EA or an EIS if the agency

makes substantial changes to the proposed action that are relevant to environmental concerns. 40

C.F.R. § 1502.9(d); see also 23 C.F.R. 771.130(a). If the agency is not certain of the significance

of new impacts, it must develop appropriate environmental studies or a supplemental EA. 23

C.F.R. 771.130(c). “NEPA and its regulations require agencies to take a ‘hard look’ at the

‘significance’ of the consequences of their actions before issuing an EA/FONSI . . . but also

contemplate the reality that, after the formal issuance of an EIS or EA/FONSI, it is often the case

that new information comes to light or the project changes.” Highway J Citizens Grp. v. Mineta,

349 F.3d 938, 959 (7th Cir. 2003). 65


64
   A re-evaluation based on a change in conditions should (1) “[c]learly document the change that triggers the re-
evaluation”; (2) [d]ocument the changes in environmental impacts or mitigation . . . and describe how the impact will
be different from what was previously described”; and (3) “[d]etermine whether the original environmental decision
remains valid after comprehensively considering the changes.” FHWA, NEPA Re-Evaluation Joint Guidance for
FHWA, Fed. R.R. Admin. (FRA), & Fed.                         Transit Admin.            (FTA) (Aug. 14, 2019),
https://www.environment.fhwa.dot.gov/legislation/nepa/Reevaluation_guidance_08142019.aspx.
65
  Although the CEQ regulations do not explain if or when an EA must be supplemented to reflect new information,
they do define when an agency must supplement an EIS. See 40 C.F.R. § 1502.9(c) (d)(i), (ii) (requiring agencies to
supplement EISs if “[t]he agency makes substantial changes in the proposed action,” or if “[t]here are significant new

                                                         53
         Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 60 of 62




        The agency here did not simply change the Congestion Program, it created the actual

tolling program after the requisite environmental review. The EA and FONSI were based on

hypothetical tolling scenarios, none of which reflected the tolling structure recommended by the

TMRB. The recommendation differed in price, toll credits for certain bridges, peak hours of the

toll, discounts to low-income individuals, and the toll structure for taxis and for-hire vehicles. See

supra Section F. Nothing in the EA “so much as hinted at” these new elements, and “there is no

direct or reliable way to compare the [environmental] effects of these changes” to those elements

previously analyzed. N.M. ex rel. Richardson, 565 F.3d at 707. In keeping with Defendants’

myopic focus on completion without the inconvenience of meaningful public engagement, a

limited, four-day comment period was allowed for the recommendation, with speakers given a

sum total of two minutes each to speak.

        These core components recommended by the TMRB will have significant effects on the

environment due to redirected traffic, which the FONSI could not have considered. Basic logic

dictates the following: (1) a higher toll price means more people will seek to avoid the toll by re-

routing their trip; (2) providing crossing credits on certain bridges will result in more traffic over

those bridges; (3) longer peak hours will result in additional redirected traffic; and (4) tolling

passengers of taxis and for-hire vehicles a marginal increase per trip instead at the full peak toll

rate (which will likely be passed on to the passenger) will not meaningfully deter these vehicles

from driving throughout the CBD. 66 All of these changes will significantly impact Plaintiffs.

Giving rideshare and taxis a near pass on the toll will do little to alleviate congestion; longer peak


circumstances or information relevant to environmental concerns and bearing on the proposed action or its impacts”).
Courts have found these regulations and associated case law instructive when deciding whether an agency should have
updated an EA. See, e.g., Price Rd. Neighborhood Ass’n v. U.S. Dep’t of Transp., 113 F.3d 1505, 1509-10 (9th
Cir.1997) (holding that the standard for supplementing an EA is the same as for an EIS).
66
   Taxis and app-based for-hire vehicles already make up 52% of congestion in the CBD and are only expected to be
charged $1.25 and $2.50 per ride, respectively. TMRB Recommendation at 11.

                                                        54
        Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 61 of 62




hours will mean longer days of diverted traffic and increased congestion on exempted

thoroughfares; and there remains no discount for residing in Battery Park City, or any residents in

the CBD. Any simple “re-evaluation” by the FHWA does not cure the failure to carry out a proper

evaluation of the actual tolling structure in the first place. A simple re-evaluation will not suffice.

       Dubois v. U.S. Department of Agriculture., 102 F.3d 1273 (1st Cir. 1996), is illustrative.

In Dubois, the First Circuit held that the relevant agency should have conducted a supplemental

EIS where the final proposal for a ski resort’s trails and location was “configured differently” than

the previously-analyzed alternatives. Id. at 1293. The agency argued that the facet of the plan not

studied in the initial EIS was “merely a scaled-down modification” and the environmental effects

of the earlier approved plan would have been “far larger and far more intrusive on the environment

than the new preferred [Plan].” Id. at 1292. But the court held that the agency failed to take a hard

look at the actual plan, and required a supplemental EIS. Id.

       As in Dubois, the TMRB Recommendation contains myriad changes—in fact, a whole new

toll price and structure—necessitating the need for a supplemental report. Id. at 1292-93; see also

Block, 690 F.2d at 772 (requiring supplemental review where substantial changes in final project

proposal “could not be fairly anticipated”).

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’

Motion for Summary Judgment.




                                                  55
     Case 1:23-cv-10365-LJL Document 54-1 Filed 03/18/24 Page 62 of 62




Dated: New York, New York              STEPTOE LLP
       March 18, 2024

                                By:
                                        /s/ Alan M. Klinger
                                       Alan M. Klinger
                                       Dina Kolker
                                       David Kahne
                                       1114 Avenue of the Americas
                                       New York, New York 10036
                                       (212) 506-3900
                                       aklinger@steptoe.com

                                       Counsel for Plaintiffs




                                      56
